USCA11 Case: 23-12958    Document: 33-5    Date Filed: 09/18/2023   Page: 1 of 129



                                No. 23-12958


            IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT
                        _______________

                             The State of Georgia

                                           Plaintiff-Appellee,
                                      v.

                              Mark R. Meadows,

                                        Defendant-Appellant.
                              _______________

                 On Appeal from the United States District Court
          for the Northern District of Georgia, No. 1:23-cv-03621-SCJ
                               _______________

                DEFENDANT-APPELLANT’S APPENDIX
                        VOLUME V OF V
                        _______________

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USCA11 Case: 23-12958                   Document: 33-5             Date Filed: 09/18/2023               Page: 2 of 129



                                                        INDEX

                                                                                                                Docket/
                                                                                                                Tab No.
Volume I

District Court Docket Sheet, No. 1:23-cv-3621-SCJ................................................ A

Indictment, 23SC188947 (Fulton Cnty. Sup. Ct. Aug. 14, 2023) ............................ B
Notice of Removal (Aug. 15, 2023)...........................................................................1

Order that the Parties Participate in an Evidentiary Hearing Concerning the Notice
      of Removal (Aug. 16, 2023) ............................................................................ 6

Motion to Dismiss Charges Based on Supremacy Clause Immunity (Aug. 18,
     2023) ..............................................................................................................15
         Corrected Brief in Support of Motion to Dismiss (Aug. 19, 2023) .......... 16-1
Emergency Motion for Relief Immediate Removal, or an Order Prohibiting DA
     Willis from Arresting Defendant Mark Meadows (Aug. 22, 2023) .............. 17
         Declaration of John S. Moran (Aug. 22, 2023) ......................................... 17-1
         Email from John Moran to DA Willis (Aug. 16, 2023) ............................ 17-2

         Email from DA Willis to John Moran (Aug. 16, 2023) ............................ 17-3
         Letter from John Moran to DA Willis (Aug. 21, 2023) ............................ 17-4
         Email from DA Willis to John Moran (Aug. 22, 2023) ............................ 17-5

         Letter from John Moran to DA Willis (Aug. 22, 2023) ............................ 17-6

         Motion for Entry of Pretrial Scheduling Order and Proposed Pretrial
              Scheduling Order, 23SC188947 (Fulton Cnty. Sup. Ct. Aug. 16, 2023)
               ......................................................................................................... 17-7

State’s Response to Emergency Motion for Relief Immediate Removal, or an Order
       Prohibiting DA Willis from Arresting Defendant Mark Meadows (Aug. 23,
       2023) ..............................................................................................................23



                                                             ii
USCA11 Case: 23-12958           Document: 33-5           Date Filed: 09/18/2023          Page: 3 of 129



                                                                                                Docket/
                                                                                                Tab No.

Volume II

Order Denying Emergency Motion for Immediate Removal or an Order Prohibiting
      DA Willis from Arresting Defendant Mark Meadows (Aug. 23, 2023) ....... 25

State’s Response to Notice of Removal (Aug. 23, 2023) ........................................27
       Excerpt of Michael Shirkey Interview (June 8, 2022) .............................. 27-1

       Excerpt of Cassidy Hutchinson Interview (Mar. 7, 2022) ........................ 27-2

       Excerpt of John McEntee Deposition (Mar. 28, 2022) ............................. 27-3

       Excerpt of Office of Special Counsel Hatch Act Report (Nov. 9, 2021) .. 27-4
Reply to State’s Response to Notice of Removal (Aug. 25, 2023) .........................45

Order Requesting Supplemental Briefing (Aug. 29, 2023) .....................................63



Volume III
Transcript of Evidentiary Proceedings (August 28, 2023), 1 of 2 ...........................65
       Mark Randall Meadows

              Direct Examination.................................................................... App.380
              Cross Examination .................................................................... App.426
              Redirect Examination ................................................................ App.518



Volume IV

Transcript of Evidentiary Proceedings (August 28, 2023), 2 of 2 ...........................65

       Kurt Robert Hilbert

              Direct Examination.................................................................... App.532
              Cross Examination .................................................................... App.554


                                                   iii
USCA11 Case: 23-12958                    Document: 33-5              Date Filed: 09/18/2023               Page: 4 of 129



                                                                                                                  Docket/
                                                                                                                  Tab No.

         Brad Raffensperger

                   Direct Examination.................................................................... App.557
                   Cross Examination .................................................................... App.586
                   Redirect Examination ................................................................ App.593

Exhibits Admitted During Evidentiary Proceedings

         Mark Meadows’s Commission (Mar. 31, 2020) [Def.’s Ex. 1] ..................... C
         Declaration of Scott Gast (Aug. 27, 2023) [Def.’s Ex. 3] .............................. D

         Declaration of Benjamin Williamson (Aug. 27, 2023) [Def.’s Ex. 4] ........... E

         Email from Mark Meadows to Jason Miller (Dec. 6, 2020) [State’s Ex. 1] .. F
         Entry of Appearance for Kurt R. Hilbert, Trump v. Raffensperger,
              2020-cv-343255 (Dec. 7, 2020) [State’s Ex. 2] ................................... G
         Recording of Call with Secretary Raffensperger (Jan. 2, 2021) [State’s Ex.
              3] ........................................................................................................... H



Volume V

State’s Supplemental Brief (Aug. 31, 2023) ............................................................66

Meadows’s Supplemental Brief (Aug. 31, 2023) ....................................................67
Order Declining Jurisdiction and Remanding Case to Fulton County Superior Court
      (Sept. 8, 2023)................................................................................................69
Notice of Appeal (Sept. 8, 2023) .............................................................................71

Emergency Motion to Stay Remand Order (Sept. 11, 2023)...................................74

State’s Opposition to Emergency Motion to Stay Remand Order (Sept. 12, 2023)
       .......................................................................................................................78

Order Denying Emergency Motion to Stay Pending Appeal (Sept. 12, 2023) ....... 80


                                                              iv
USCA11 Case: 23-12958   Document: 33-5   Date Filed: 09/18/2023   Page: 5 of 129




                                Tab 66
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 1 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 6 of 129




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

THE STATE OF GEORGIA,                    )
                                         )            CIVIL ACTION NO.
                                         )            1:23-cv-03621-SCJ
                                         )
v.                                       )
                                         )            RE: NOTICE OF REMOVAL
                                         )            OF FULTON COUNTY
                                         )            SUPERIOR COURT
MARK RANDALL MEADOWS                     )            INDICTMENT NO.
                                         )            23SC188947

               STATE OF GEORGIA’S POST-HEARING BRIEF

      Following an evidentiary hearing held on August 28, 2023, the Court directed

the parties to submit additional briefing on a single question:

      Count 1 of the Indictment (pertaining to Georgia’s Racketeer
      Influenced and Corrupt Organizations Act (RICO), O.C.G.A. § 16-14-
      4(c)) contains a number of overt acts attributed to Mr. Meadows. Would
      a finding that at least one (but not all) of the overt acts charged occurred
      under the color of Meadows’s office, be sufficient for federal removal
      of a criminal prosecution under 28 U.S.C. § 1442(a)(1)?
For all of the following reasons, the State of Georgia responds that the answer to this

question is no. A finding that at least one, but not all, of the overt acts attributed to

the defendant would not be sufficient to authorize removal.




                                        App.685
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 2 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 7 of 129




   I.       The defendant’s prosecution commenced not from any individual
            overt act, but from his entry into a conspiracy.

         The defendant’s prosecution was not commenced against him “for or related

to any act” under color of his office. 28 U.S.C. § 1442(a)(1). The defendant’s

prosecution commenced because he knowingly and willfully entered into an

agreement to violate the Georgia RICO Act. The overt acts alleged in the

Indictment, as with any indictment charging a violation of a conspiracy statute

containing an overt act requirement, are required to be pled only to “demonstrate

the conspiracy was actually ‘at work’”. Nordahl v. State, 306 Ga. 15, 26 n.22

(2019), citing Carlson v. United States, 187 F.2d 366, 370 (10th Cir. 1951).

         The defendant is charged in Count 1 with agreeing to join a conspiracy that

planned to overturn the lawful results of an election in Georgia. A scenario where

at least one, but not all, of the overt acts attributed to the defendant in Count 1 of

the Indictment occurred under color of office would not be sufficient to authorize

removal because it would not demonstrate that his agreement to join in the RICO

conspiracy described in Count 1 was an act “for or related to” his duties as Chief of

Staff.

         An examination of RICO and conspiracy law more generally illustrates the

crucial difference between a single overt act and joining a conspiracy. Count 1

charges the defendant with a violation of O.C.G.A. § 16-14-4(c), in that he

                                           2
                                        App.686
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 3 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 8 of 129




“conspired and endeavored to participate in” an enterprise to violate O.C.G.A § 16-

14-4(b). Subsection (a)(1) of the statute is violated when a person “together with

one or more persons conspires to violate any of the provisions of subsection (a) or

(b) of this Code section and anyone or more of such persons commits any overt act

to effect the object of the conspiracy . . .” O.C.G.A. § 16-14-4(b) provides that “[i]t

shall be unlawful for any person employed by or associated with any enterprise to

conduct or participate in, directly or indirectly, such enterprise through a pattern of

racketeering activity.”

     The question posed by this Court contemplates a finding that the defendant

has committed at least one overt act under Count 1 outside the color of his office.

This would be more than what is required to demonstrate the defendant’s

participation in the RICO conspiracy. In contrast to a substantive violation of

O.C.G.A. § 16-14-4(b), a conspiracy to violate that provision does not, as the

language of subsection (c)(1) makes clear, require that a defendant commit or agree

to commit two acts of racketeering activity himself. Faillace v. Columbus Bank &

Trust Co., 269 Ga. App. 866, 870, 605 S.E.2d 450, 454 (2004), citing Salinas v.

United States, 522 U.S. 52, 63 (1997). Under Georgia law, a person is guilty of a

RICO conspiracy “if they knowingly and willfully join a conspiracy which itself

contains a common plan or purpose to commit two or more predicate acts.” Cotman


                                          3
                                       App.687
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 4 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 9 of 129




v. State, 342 Ga. App. 569, 585, 804 S.E.2d 672, 684 (2017) (emphasis added).

While Georgia RICO, unlike federal RICO, requires that one of the conspirators

commit an overt act, there is no requirement that the defendant himself commit an

overt act because “each actor in a conspiracy is responsible for the overt actions

undertaken by all the other co-conspirators in furtherance of the conspiracy.” Pasha

v. State, 273 Ga. App. 788, 616 S.E.2d 135, 138 (2005) (citing Causey v. State, 154

Ga. App. 76, 79, 267 S.E.2d 475, 479 (1980); accord Akintoye v. State, 340 Ga.

App. 777, 780, 798 S.E.2d 720, 724 (2017) (applying general conspiracy law to

RICO: “It is well settled that when individuals associate themselves in an unlawful

enterprise, any act done in pursuance of the conspiracy by one or more of the

conspirators is in legal contemplation the act of all.”). This is consistent with federal

conspiracy law. Bannon v. United States, 156 U.S. 464, 469 (1895) (rejecting

proposed requirement that the government allege defendant personally commit an

overt act).

     Because “[a] conspiracy is a partnership in crime . . .”, Pinkerton v. United

States, 328 U.S. 640, 644 (1946),1 the gravamen of a RICO conspiracy is “premised


1
  Georgia courts have applied Pinkerton. McLeod v. State, 279 Ga. 99, 102, 772
S.E.2d 641, 644 (2015). Thus, “[as] a co-conspirator and party to a crime, the
racketeering activity underlying Whaley’s RICO violation included not only the
acts of himself, but also of Rice.” Whaley v. State, 343 Ga. App. 701, 704, 808
S.E.2d 88, 92 (2017).

                                           4
                                        App.688
       Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 5 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 10 of 129




 not upon the commission of the predicates of racketeering, or even an agreement to

 commit predicate acts, but upon an agreement to participate in the affairs of the

 criminal enterprise through a pattern of racketeering activity.”2 de la Osa v. State,

 158 So.3d 712, 731 (Fla. App. 2015) (citing, inter alia, Salinas, 522 U.S. at 63-66).

      The Indictment alleges that the defendant conspired to violate the Georgia

 RICO statute, and the State of Georgia has submitted evidence substantiating that

 allegation. The defendant coordinated and actively participated in a phone call

 between codefendant Donald J. Trump, lawyers for Mr. Trump’s presidential

 campaign, and officials from the Georgia Secretary of State’s Office, during which

 Mr. Trump berated the Secretary to overturn the results of an election Mr. Trump

 had lost. On the call, the defendant used the inclusive pronoun “we” to refer to

 information possessed by the campaign and its lawyers, and he directly disputed the

 Secretary’s investigatory findings regarding the number of “dead voters,” insisting

 “I can promise you there are more than that.” Earlier, the defendant contacted

 another Secretary of State official and inquired whether the Trump campaign could

 “speed up” a signature audit by providing funding directly to the State. And after



 2
   See Jefferson County v. Acker, 527 U.S. 423, 447 (1999) (Scalia, J., concurring
 in part and dissenting in part) (“The point is only that the officer should have to
 identify as the gravamen of the suit an act that was, if not required by, at least
 closely connected with, the performance of his official functions.”).

                                          5
                                       App.689
       Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 6 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 11 of 129




 insisting that he did not play “any role” in the coordination of slates of “fake

 electors” throughout several states, the defendant was forced to acknowledge under

 cross-examination that he had in fact given direction to a campaign official in this

 regard. Specifically, the defendant wrote an email, State’s Exhibit 1, in which he

 said, “We just need to have someone coordinating the electors for the states” and

 attached a memorandum written by co-defendant Kenneth Chesebro recommending

 the organization of slates of presidential electors to meet and cast votes for Mr.

 Trump in states Mr. Trump had lost.3

      The defendant has not disputed his participation in these events; he simply

 argues that all of them were within the scope of his duties and occurred under color

 of office. The Court thus has undisputed evidence of the defendant committing the

 act at issue in Count 1: conspiring to violate Georgia’s RICO statute by joining in

 a common plan to overturn the results Georgia’s 2020 presidential election. A

 finding that some of the overt acts attributed to the defendant occurred under color



 3
   The Court has ample basis not to credit some or all of the defendant’s testimony
 from the evidentiary hearing. In addition to the contradiction highlighted above,
 the defendant said repeatedly that he misused the pronoun “we,” an assertion that
 would materially alter the plain meaning of several of his relevant statements. The
 defendant also repeatedly insisted he was merely “trying to land the plane” and
 achieve “a peaceful transition of power,” a statement clearly belied by his
 participation in the Trump campaign’s attempts to overturn the outcome of
 Georgia’s election.

                                           6
                                        App.690
       Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 7 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 12 of 129




 of office would not suffice to show that the defendant’s joining in the conspiracy

 was itself under color of office or even related to it.

      A case familiar to this Court provides a useful example of a scenario where a

 federal officer’s entry into a conspiracy could occur under color of office. In

 Baucom v. Martin, a local prosecutor was considering filing charges against an FBI

 agent for the agent’s activities related to an attempt to bribe a local official. 677

 F.2d 1346, 1347-48 (11th Cir. 1982). The attempted bribe was part of a joint

 federal-state investigation into local government corruption and possible federal

 RICO violations. The Eleventh Circuit held that any attempt to secure a bribe fell

 within the agent’s duties as a federal officer conducting such an investigation and

 the prosecution was therefore barred by Supremacy Clause immunity. Id. at 1350.

 If the agent and others had been charged with conspiracy for their coordinated plan

 seeking to bribe a local official, the case would have been subject to removal

 because the act of conspiring in that case would clearly have been committed under

 color of the agent’s office.

      The circumstances of this case are easily distinguishable. The defendant

 conspired not for any purpose related to his duties as Chief of Staff, but to transform

 Mr. Trump from a losing political candidate into a winning one, no matter what the

 outcome of the election had actually been. The conspiracy did not involve a


                                            7
                                         App.691
       Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 8 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 13 of 129




 common plan seeking to fulfill a federal objective or enforce federal law; it sought

 to fulfill an openly personal goal of Mr. Trump’s that the defendant acknowledged

 he shared. A finding that, as part of that conspiracy, the defendant may have

 committed one or even several acts that fell within the color of his office would not

 demonstrate that he was being prosecuted for an act “for or related to” his office.

 That is because the gravamen of the charge, the relevant act as contemplated by

 section 1442(a)(1), remains conspiring itself, and there is no evidence before the

 Court demonstrating that the conspiracy in which the defendant participated sought

 to further some authorized or lawful federal interest related to the defendant’s

 office. As a result, the answer to the Court’s question is no: a finding that some but

 not all of the defendant’s overt acts were committed under color of his office would

 not suffice to authorize removal of his case.4



 4
   A single reference in Mesa v. California stating that, regarding the presence of a
 federal question, “if there be a single such ingredient in the mass, it is sufficient.
 That element is decisive upon the subject of jurisdiction,” provides no support for
 a contrary result. 489 U.S. 121, 129 (1989), citing The Mayor v. Cooper, 6 Wall.
 247, 252 (1868). That statement related to the requirement that a defendant assert
 a federal defense, id., and it does not reduce the defendant’s burden in making the
 necessary showing: “It must appear that the prosecution of him, for whatever
 offense, has arisen out of the acts done by him under color of federal authority and
 in enforcement of federal law, and he must by direct averment exclude the
 possibility that it was based on acts or conduct of his not justified by his federal
 duty.” Mesa, 489 U.S. at 131-32, citing Maryland v. Soper (No. 1), 270 U.S. 9, 33
 (1926) (emphasis added). Here, in the question posed by this Court, the defendant

                                           8
                                        App.692
       Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 9 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 14 of 129




   II.      The defendant cannot demonstrate that he has a colorable federal
            defense.

         In the scenario outlined in this Court’s question, the defendant would not be

 able to raise a “colorable federal defense.” Such a defense is required in order to

 secure removal. Mesa v. California, 489 U.S. 121, 136 (1989). In the context of

 removal, “colorable” means “plausible.” Magnin v. Teledyne Cont’l Motors, 91

 F.3d 1424, 1427 (11th Cir. 1996). The defendant has attempted to raise a defense

 of Supremacy Clause immunity, which requires him to show both that he was

 performing “an act which he was authorized to do by the law of the United States”

 and that, in performing that authorized act, “he did no more than what was

 necessary and proper for him to do.” In re Neagle, 135 U.S. 1, 75 (1890) (emphasis

 added). In the Eleventh Circuit, a defendant’s claim of Supremacy Clause immunity

 is negated by any evidence that they acted out of “personal interest, malice, actual

 criminal intent, or for any other reason than to do [their] duty as [they] saw it.”

 Baucom, 677 F.2d at 1350.

         A finding that some but not all overt acts occurred under color of office would

 not suffice to authorize removal of a conspiracy to violate Georgia’s RICO statute.

 By contrast, a finding that some of the defendant’s overt acts did not occur under


 has not made a showing “excluding the possibility” that his prosecution is based
 on “acts or conduct of his not justified by his federal duty.”

                                            9
                                         App.693
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 10 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 15 of 129




 color of office would affirmatively defeat his attempt at removal because it would

 make it impossible for the defendant to plausibly raise a complete defense of

 Supremacy Clause immunity to Count 1.

      As noted above, the question posed by this Court contemplates a finding that

 the defendant has committed at least one overt act under Count 1 outside the color

 of his office, which is more than what is required to convict the defendant under

 Count 1. This is because the State of Georgia need not prove that the defendant

 himself committed an overt act in furtherance of the conspiracy, but only that

 someone had committed such an overt act.5 That person could be any other co-

 conspirator.6 However, in the question posed by the Court here, where one or more


 5
  Again, the example drawn from the facts of Baucom above is useful. If the federal
 agent in that case had been indicted for conspiracy, he still would have been able
 to remove his case, even if held responsible for the overt acts of all other co-
 conspirators. This is because those overt acts would all have been no more than
 what was “necessary and proper” to effectuate the bribery investigation and its
 plan, “an act which he was authorized to do under the laws of the United States.”
 Neagle, 135 U.S. at 75.
 6
   Georgia law is clear on this point: where a defendant is charged with conspiracy
 and also separately charged with a single overt act alleged against him, the fact that
 he was found not guilty of the charge involving the overt act does not foreclose a
 finding of guilty based upon the conspiracy where there is sufficient evidence of
 the commission of overt acts by others in furtherance of that conspiracy. Thomas
 v. State, 215 Ga. App. 522, 523, 451 S.E.2d 516, 517 (1994); Hall v. State, 241 Ga.
 App. 454, 460, 525 S.E.2d 759, 764 (1999) (defendant could be convicted of
 conspiracy even if the jury did not believe he committed the one overt act which
 he was independently alleged to have committed, as long as the overt act that his

                                          10
                                        App.694
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 11 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 16 of 129




 overt acts fall outside the defendant’s color of office, the State of Georgia’s case

 would be much stronger than that: the person who committed an overt act would be

 the defendant. This would put the required showing under Neagle that he “did no

 more than what was necessary and proper for him to do” out of reach. Any

 Supremacy Clause immunity defense premised upon the argument that some, but

 not all, of the defendant’s overt acts fell within the color of his office would be

 incomplete and insufficient, because a defense applicable only to individual overt

 acts does not function as a defense to a violation of O.C.G.A. § 16-14-4(c).7



 co-conspirator allegedly committed was proven). As Pasha and the other cases
 cited above make clear, the State need not prove that Meadows engaged in any
 overt acts, so long as it shows that at least one co-conspirator engaged in at least
 one overt act. Indeed, under both Georgia and federal law an overt act need not be
 a crime in itself. McCright v. State, 176 Ga. App. 486, 487, 336 S.E.2d 361, 363
 (1985). See, e.g., Iannelli v. United States, 420 U.S. 770, 785 n.17 (1975) (“The
 overt act requirement in the conspiracy statute can be satisfied much more easily.
 Indeed, the act can be innocent in nature, provided it furthers the purpose of the
 conspiracy.”); Pierce v. United States, 252 U.S. 239, 243 (1920) (“Yet the overt
 act need not be in and of itself a criminal act; still less need it constitute the very
 crime that is the object of the conspiracy.”). Federal conspiracy law is to the same
 effect. See, e.g., Bannon v. United States, 156 U.S. 464, 468-469 (1895) (refusing
 to require that an overt act be proven against every member of the conspiracy).
 7
   See Donovan v. Schiavone Constr. Co., 601 F. Supp. 574, 579 n.7 (S.D.N.Y.
 1985) (applying state substantive law to determine that where defendant’s
 submitted defense of withdrawal did not include an additional required element,
 “under the applicable law, petitioner's claims regarding his withdrawal from [a
 conspiracy], if proven, may not constitute a defense at all.”) (emphasis added).


                                           11
                                        App.695
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 12 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 17 of 129




           Given the weight of authority contrary to the defendant’s position, he will

 likely emphasize the permissive standards related to raising a colorable federal

 defense. However, while the defendant need not show a “clearly sustainable

 defense”8 at this stage, he cannot even show a “possibly sustainable defense.”

 Likewise, while he is not required to “virtually win his case,”9 he cannot even show

 that his defense would make it possible for him to win his case. Supremacy Clause

 immunity could do neither under the scenario contemplated in this Court’s question.

 To hold that a “plausible” defense need not be a “complete” defense would reduce

 the test for federal removal from “permissive” to “nearly invisible.” Indeed, many

 federal courts have held that a “colorable federal defense” must be a “complete

 defense,” a minimum requirement so uncontroversial that it does not appear to have

 ever been challenged. See Hagen v. Benjamin Foster Co., 739 F.Supp.2d 770, 778,

 783 (E.D. Pa. 2010) (“Thus, the Court concludes that a defense is colorable for

 purposes of determining jurisdiction under Section 1442(a)(1) if the defendant




 8
     Willingham v. Morgan, 395 U.S. 402, 407 (1969).
 9
     Id.


                                            12
                                          App.696
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 13 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 18 of 129




 asserting it identifies facts which, viewed in the light most favorable to the

 defendant, would establish a complete defense at trial.”).10

      Simply put, “[s]ection 16-14-4(c) makes it illegal ‘for any person to conspire

 or endeavor to violate’ Section 16-14-4(a) [or (b)]. To violate section 16-14-4(c),

 one must either commit an overt act to ‘effect the object of’ the endeavor or

 conspiracy or a co-conspirator must commit such an overt act.” Doe v. Red Roof

 Inns, Inc., 21 F.4th 714, 728 (11th Cir. 2021). To prove that the defendant conspired

 to violate the RICO statute, the State of Georgia must prove that some co-

 conspirator committed an overt act. This scenario in the question posed by this

 Court contemplates the defendant himself having committed at least one overt act



 10
    Courts that have followed Hagen’s formulation requiring the showing of a
 “complete defense” without any dispute include the Third Circuit, Papp v. Fore-
 Kast Sales Co., Inc., 842 F.3d 805, 815 (3d Cir. 2016); the Southern District of
 Alabama, Morgan v. Bill Vawn Co., Inc., 2011 WL 6056083, * 5 (S.D. Ala. Dec.
 6, 2011), Davis v. Central Ala. Elec. Coop., 2015 WL 4742496 (S.D. Ala. Aug. 11,
 2015); the Southern, Eastern, and Northern Districts of New York, Williams v.
 Aetna Life Ins. Co., 2013 WL 593505, * 6 (S.D. N.Y. Jan. 30, 2013), Gordon v. Air
 & Liquid Systems, Corp., 990 F.Supp.2d 311, 316-17 (E.D. N.Y. 2014), Gates v.
 AO Smith Water Prods. Co., 2014 WL 104965, * 4-5 (N.D. N.Y. Jan. 9, 2014),
 Crews v. Air & Liquid Systems, Corp., 2014 WL 636362, * 3 n. 2 (N.D. N.Y. Feb.
 18, 2014); and many others. See also Walkup v. Air & Liquid Systems Corp., 2013
 WL 5448623, * 4-5 (D. Del. Sept. 26, 2013); Joyner v. A.C. & R. Insulation Co.,
 2013 WL 877125, * 6 (D. Md. Mar. 7, 2013); Thompson v. Crane Co., 2012 WL
 1344453, * 20 (D. Haw. April 17, 2012); Kraus v. Alcatel-Lucent, 2018 WL
 3585088 (E.D. Pa. July 25, 2018).


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                                       App.697
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 14 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 19 of 129




 outside the color of his office. Such a finding would demonstrate that Supremacy

 Clause immunity could not function as a complete, and therefore plausible, defense.

 Thus, if the Court finds that any of the defendant’s overt acts were not committed

 under color of his office, the defendant cannot raise a colorable defense of

 Supremacy Clause immunity.


   III.   The defendant sees no distinction among his overt acts.

      The scenario contemplated by the Court in its order seeking additional

 briefing distinguishes among the overt acts allegedly committed by the defendant,

 suggesting that some may fall under the color of his office while others may not.

 The State of Georgia again observes that the defendant makes no such distinction.

 In his Motion to Dismiss (Document 16-1), filed on August 19, the defendant insists

 that “[a]ll of the alleged conduct as to Mr. Meadows relates to protected political

 activity that lies in the heartland of First Amendment” and “[a]ll the substantive

 allegations in the Indictment concern unquestionably political activity and thus, if

 not covered by Supremacy Clause immunity, the charges would be barred by the

 First Amendment.” Doc. 16-1 at 23-24. The State of Georgia has already submitted

 arguments to the Court regarding the interaction between the defendant’s

 admission, the prohibitions applicable to him under the Hatch Act, and the scope of

 his duties as Chief of Staff. However, the State observes that the defendant has

                                         14
                                       App.698
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 15 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 20 of 129




 characterized the “gravamen”11 of his own conduct—all of his conduct—as

 “unquestionably political activity.”



                                      CONCLUSION

         The defendant was indicted not for any individual overt act but for entering

 into a conspiracy to violate Georgia’s RICO Act. The defendant must raise a

 colorable federal defense, not to some subset of overt acts, but to actual violation

 of O.C.G.A. § 16-14-4(c) with which he is charged. Thus, a finding that some, but

 not all, of the over acts attributed to the defendant in the Indictment occurred under

 the color of his office would not suffice to authorize removal. Instead, a finding

 that some, but not all, of the overt acts attributed to the defendant did not occur

 under color of his office would defeat the defendant’s attempts at removal. Such a

 finding would preclude the defendant from raising a complete Supremacy Clause

 immunity defense to Count 1, and it would not alter the fact that the defendant had

 no lawful authority to enter into a conspiracy intended to overturn the results of

 Georgia’s presidential election. Even if the burden on a defendant seeking removal

 is permissive, it is not nonexistent, particularly when his case is a criminal

 prosecution. Where the evidence before the Court and the defendant’s own


 1111
        See Acker, 527 U.S. at 447 (Scalia, J., concurring in part and dissenting in part).

                                              15
                                           App.699
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 16 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 21 of 129




 admissions demonstrate that his conduct was not authorized by federal law or “no

 more than what is necessary and proper” for the performance of his duties, the

 defendant cannot meet his burden, and his Notice of Removal must fail.

      Respectfully submitted, this 31st day of August 2023.

                                             FANI T. WILLIS
                                             DISTRICT ATTORNEY
                                             ATLANTA JUDICIAL CIRCUIT

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                       CERTIFICATE OF COMPLIANCE

      The undersigned counsel hereby certifies that this pleading complies with

 the Local Rules of this Court, including Local Rules 5.1.C and 7.1.D (N.D. Ga.)

 in that it is double-spaced and composed in 14-point Times New Roman font.

      This 31st day of August 2023.




                                        16
                                      App.700
      Case 1:23-cv-03621-SCJ Document 66 Filed 08/31/23 Page 17 of 17
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 22 of 129




                         CERTIFICATE OF SERVICE

      I hereby certify the foregoing was served upon the following by email:
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                         s/ F. McDonald Wakeford
                         F. McDonald Wakeford




                                       17
                                     App.701
USCA11 Case: 23-12958   Document: 33-5   Date Filed: 09/18/2023   Page: 23 of 129




                                Tab 67
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 1 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 24 of 129




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

                                         )
THE STATE OF GEORGIA,                    )
                                         )
      v.                                 )            Case No. 1:23-cv-03621-SCJ
                                         )
MARK R. MEADOWS,                         )
                                         )
             Defendant.                  )
                                         )

     SUPPLEMENTAL BRIEF OF DEFENDANT MARK R. MEADOWS
            IN SUPPORT OF HIS NOTICE OF REMOVAL

      The Court has asked for supplemental briefing on whether “a finding that at

least one (but not all) of the overt acts charged occurred under the color of

Meadows’s office [would] be sufficient for federal removal.” The answer is “yes.”

I.    Removal Is Required If the “Prosecution” Relates to “Any Act” That
      Occurred in the Course of Official Duties

      Statutory text, binding precedent, and hornbook law confirm that a

prosecution is removable if any part relates to an “act under color of [federal] office.”

28 U.S.C. § 1442(a)(1). Removal is thus required if at least one overt act charged

has “a ‘connection’ or ‘association,’” Caver v. Cent. Alabama Elec. Coop., 845 F.3d

1135, 1144 (11th Cir. 2017), to even “the outer perimeter of [Mr. Meadows’s] line

of duty,” Barr v. Matteo, 360 U.S. 564, 575 (1959).

      Statutory Text. Two particular aspects of the statutory text confirm this
                                             1

                                        App.702
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 2 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 25 of 129




principle: (a) the Federal Officer Removal Statute refers to removal of “[a] civil

action or criminal prosecution,” not of particular claims, counts, or theories; 1 and (b)

it authorizes removal of prosecutions “against or directed to” a federal officer “for

or relating to any act under color of [federal] office.” 28 U.S.C. § 1442(a) (emphasis

added).2 The statutory text itself thus shows that the case would be removable if

some but not all of the charged conduct related to Mr. Meadows’s official duties.

      Binding Precedent. The Fulton County District Attorney knows from recent

experience “that if one claim cognizable . . . is present, the entire action is removed,

regardless of the relationship between the Section 1442 claim and the non-removable

claims.” Georgia v. Heinze, 637 F. Supp. 3d 1316, 1325–26 & n.8 (N.D. Ga. 2022)

(denying remand of charges by Fulton County District Attorney against federal task

force officers).3


1
  Federal courts similarly construe 28 U.S.C. § 1441, which provides for removal of
a “civil action” over which federal jurisdiction exists. See, e.g., Ladies Mem’l Ass’n
Inc. v. City of Pensacola, Fla., No. 3:20CV5681/MCR/ZCB, 2023 WL 2561785, at
*3 (N.D. Fla. Mar. 17, 2023) (“If the complaint contains ‘even one federal claim[,]’
then the defendant has ‘the right to remove the entire case to federal court.’”)
(quoting Convent Corp. v. City of N. Little Rock, 784 F.3d 479, 483 (8th Cir. 2015)).
2
  See Sawyer v. Foster Wheeler LLC, 860 F.3d 249, 257 (4th Cir. 2017) (requiring
removal where an officer asserts a federal defense to even one claim).
3
  The State argued the officers “could not be acting under color of federal authority
because they violated the Fourth Amendment,” id. at 1324—much like the argument
here based on the Hatch Act. The Heinze Court rejected the argument, holding that
it “concern[ed] the merits of the criminal charges . . . and [was] irrelevant to whether
the Defendants acted under the color of federal authority for removal purposes.” Id.
                                           2

                                        App.703
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 3 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 26 of 129




      This proposition is binding precedent under Nadler v. Mann, 951 F.2d 301,

305 n.9 (11th Cir. 1992). There, the Eleventh Circuit addressed jurisdiction under

§ 1442(a)(1) and immunity under the Liability Reform Act, 28 U.S.C. § 2679, in a

defamation case against an Assistant U.S. Attorney who was also a candidate for

judicial office. On immunity, the Court concluded—under a state-law standard

inapplicable here—that arranging a meeting between a whistleblower and the FBI

was an official act but that leaking the investigation to the press was not. See Nadler,

951 F.2d at 305–06. On removal, however, the Court made clear that the entire case

was appropriately removed, quoting the same language used in Heinze. See id. at

306 & n.9. Nadler thus makes clear that the Court must permit removal if any (not

necessarily all) of the charged conduct relates to Mr. Meadows’s official duties.

      Many other federal courts agree. See, e.g., Baker v. Atl. Richfield Co., 962

F.3d 937, 945 (7th Cir. 2020) (“Assuming for the sake of argument that some of the

[plaintiff’s] allegations . . . do not relate to the [defendants’] acts under color of

federal office, ‘removal need not be justified as to all claims . . . ; rather, the defense

need only apply to one claim to remove the case.”); Morgan v. Huntington Ingalls,

Inc., 879 F.3d 602 (5th Cir. 2018); Sawyer v. Foster Wheeler LLC, 860 F.3d 249,

257 (4th Cir. 2017); see also Mesa v. California, 489 U.S. 1, 129 (1989) (“[I]f there

be a single such ingredient in the mass, it is sufficient.”). Indeed, Mr. Meadows is

                                            3

                                         App.704
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 4 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 27 of 129




aware of no case refusing removal because the action or prosecution involved a mix

of official and unofficial conduct. Cf. Sawyer, 860 F.3d at 257 (reversing remand

order involving “mixed” claims). 4

      Hornbook Law. Lastly, it is hornbook law that § 1442(a)(1) “authorizes

removal . . . even if only one of the controversies it raises involves a federal officer.”

WRIGHT & MILLER, FEDERAL PRACTICE AND PROCEDURE § 3726 (rev. 4th ed. 2009).

II.   The State’s Framing of the Case Does Not Control Removal

      Removal is also required, even if the State has charged some acts beyond Mr.

Meadows’s official duties, because what controls is Mr. Meadows’s articulation of

his federal defense, not the State’s articulation of its state charges. See Kircher v.

Putnam Funds Tr., 547 U.S. 633, 644 (2006) (explaining that § 1442(a) “is an

exception to the ‘well-pleaded complaint’ rule” and allows “‘suits against federal

officers [to] be removed despite the nonfederal cast of the complaint’”) (quoting

Franchise Tax Bd. of Cal. v. Constr. Laborers Vacation Tr. for S. Cal., 463 U.S. 1,


4
  Justice Scalia’s partial dissent in Jefferson County v. Acker, 527 U.S. 423 (1999),
which the State cites in a footnote, see State Supp. Br., Dkt. No. 66, at 5 n.2, is not
to the contrary. There, Justice Scalia argued that an “officer should have to identify
as the gravamen of the suit an act that was, if not required by, at least closely
connected with, the performance of his official functions.” Id. at 447 (Scalia, J.,
concurring in part, dissenting in part). Mr. Meadows would meet that standard, but
in any event, the Supreme Court did not adopt it. See id. at 433 (majority opinion).
The Court was also addressing the level of connection needed between a claim and
an official act, not how to treat removal of “mixed” claims.
                                             4

                                         App.705
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 5 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 28 of 129




10 (1983); Jefferson Cnty. v. Acker, 527 U.S. 423, 431 (1999)).5 The State’s

extended analysis of its theory of liability under the Georgia RICO Act, see State

Supp. Br., Dkt. No. 66, at 2–7, 11 & n.7, 13–14, is thus beside the point.

      The State also cannot avoid removal by charging a mix of removable and non-

removable conduct. Any contrary rule would lead to absurd results; a State could

charge even the most quintessential official act and defeat removal by tacking on

unofficial conduct. That would reflect a “narrow, grudging” interpretation the

Supreme Court has rejected, Willingham v. Morgan, 395 U.S. 402, 407 (1969), and

would invert “the presumption under the federal officer removal statute [which]

favors removal, for the benefit of the federal officer involved the case,” In re

Asbestos Prod. Liab. Litig. (No. VI), 770 F. Supp. 2d 736, 741 (E.D. Pa. 2011).

      Federal courts have even held that a plaintiff (or here, the State) cannot evade

removal by expressly disclaiming any reliance on official acts. See WRIGHT &

MILLER, FEDERAL PRACTICE AND PROCEDURE, supra, § 3726;6 Asbestos Prod. Liab.



5
  Even after removal, “entitlement to Supremacy Clause immunity is to be
ascertained by looking only at federal law.” S. Waxman & T. Morrison, What Kind
of Immunity? Federal Officers, State Criminal Law, and the Supremacy Clause, 112
YALE L.J. 2195, 2233 (2003); see Johnson v. Maryland, 254 U.S. 51, 56–57 (1920).
6
  Id. (explaining that “purported disclaimers” of reliance on official acts are
“ineffective, as impermissibly attempting to deprive federal officers of their right to
have jurisdiction under the federal officer removal statute determined by a federal
court under the requirements established by Section 1442”).
                                          5

                                        App.706
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 6 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 29 of 129




Litig., 770 F. Supp. 2d at 741–43. This case could therefore be removed even if the

Indictment alleged no acts by Mr. Meadows and charged only, for example, that he

had joined a RICO conspiracy. Normally, “an action may be removed . . . only if a

federal district court would have original jurisdiction,” which means that any

“federal question . . . must appear on the face of a properly pleaded complaint” and

“an anticipated or actual federal defense generally does not qualify a case for

removal.” Jefferson Cnty., 527 U.S. at 430–31. But federal officer removal is

“exceptional in this regard. . . . [S]uits against federal officers may be removed

despite the nonfederal cast of the complaint; the federal-question element is met if

the defense depends on federal law.” Id. at 431. Here, Mr. Meadows has pleaded a

connection to his official duties and asserted a colorable federal defense; that is all

he needs to do. Cf. Heinze, 637 F. Supp. 3d at 1325 (“The Defendants have alleged

that they were acting as federal officers in accordance with federal law and therefore

entitled to immunity. That is all that is required.”). 7



7
  The State’s claim that it could convict without showing that Mr. Meadows took
any illegal act, see Hearing Tr. 253:5–6, Aug. 28, 2023 (hereinafter “Tr.”), is
irrelevant. Mr. Meadows could still remove by pleading that the State’s case related
to his federal duties. The fact that the Indictment sets forth multiple acts of specific
charged conduct only makes that task simpler. Mr. Meadows needs only to show he
had a good-faith belief that he was acting within the scope of his duties, see Baucom
v. Martin, 677 F.2d 1346, 1350 (11th Cir. 1982); Kentucky v. Long, 837 F.2d 727,
744 (6th Cir. 1988), which his unrebutted testimony shows, see infra Part III.
                                            6

                                         App.707
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 7 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 30 of 129




III.   The Record Makes Clear That the Prosecution Relates to Acts That
       Occurred in the Course of Mr. Meadows’s Official Duties

       Under these black-letter legal principles, Mr. Meadows is entitled to removal.

His unrebutted testimony establishes the broad scope of his official duties as

“Assistant to the President and Chief of Staff,” 8 which may generally be classified

in three categories: (A) providing the President close, confidential advice;9 (B) using

his discretion to gather information (including from state and federal officials) on a

wide range of federal interests and potential policies to be able to advise the

President on a moment’s notice; 10 and (C) acting as a “gatekeeper” to the President

and managing the President’s time to advance federal interests.11 Managing the

President’s time was especially critical after Election Day to ensure the federal

government continued to function and there was a “peaceful transition of power.”

Tr. 96:24–25; see also Tr. 28:11–30:3 (discussing post-election federal priorities).



8
  See DX-001 (Presidential Commission).
9
  Tr. 19:23–20:5, 33:14–34:5, 38:23–39:6, 44:23–45:4, 45:8–11, 51:24–52:14, 63:2–
10, 81:6–18, 81:19–82:19, 85:3–13.
10
   Tr. 33:22–23 (“There were no rhyme or reason where [the President’s] questions
might come up.”), 34:2–5 (“[H]aving a broad understanding of what was going on
was . . . critically important as a senior advisor to the President so that I could
anticipate what logistics were needed and what we needed to do.”); see also Tr.
17:9–18:12 (food shortages, airline bankruptcies, prescription drugs), 20:8–14
(military operations), 23:2–14 (COVID-19), 51:24–52:14 (election integrity),
81:19–82:5 (legislation, executive orders, and election integrity).
11
   Tr. 34:23–35:10, 44:23–44:7, 61:6–14.
                                          7

                                        App.708
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 8 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 31 of 129




       Mr. Meadows also exercised more specific duties in support of these general

functions. 12 He managed the White House staff and regularly coordinated meetings

between the President and state and federal officials and outside constituents. 13 He

fielded inquiries from people trying to reach the President, to the point that it seemed

his “phone number was plastered all over every bathroom wall in America.” Tr.

24:11–12. His overarching duty was to ensure that the President could effectively

lead the federal government and its operations. Mr. Meadows was thus on duty

“24/7,” and traveled with the President, or sent a designee, at all times. 14

       Even if the Court were to conclude that some charged conduct falls outside

Mr. Meadows’s official duties, 15 removal would be justified by finding that even one

charged act was related. But the record establishes that each charged “Act” in Count

I of the Indictment, in fact, relates:

       Act 5 - Michigan Oval Office Meeting

       Mr. Meadows considered this part of his role as Chief of Staff, Tr. 44:6–
       7, and his conduct was consistent with the duties and responsibilities of

12
   See generally DX-003 (Gast Decl.), ¶¶ 2–6; DX-004 (Williamson Decl.), ¶¶ 3–14.
13
   Tr. 12:4–13:5, 21:12–24, 31:9–18.
14
   Tr. 11:19–16:1.
15
   The Court should not so conclude. The Court need not and should not adjudicate
Mr. Meadows’s immunity defense in deciding removal; it should determine only
whether Mr. Meadows has asserted the requisite connection and a colorable defense.
See Caver, 845 F.3d at 1142. Moreover, if the Court finds that some conduct relates
to Mr. Meadows’s official duties, this suffices; opining that other acts might fall
beyond his duties would be unnecessary obiter dictum.
                                         8

                                         App.709
       Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 9 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 32 of 129




      that role, including managing the President’s time, 16 maintaining
      awareness of matters before the President, 17 maintaining capability to
      advise the President or delegate to others,18 monitoring action items that
      may follow a meeting, 19 addressing the federal interest in free and fair
      elections,20 and maintaining awareness of matters that could lead to
      proposed legislation or executive orders. 21 The State presented no
      contrary evidence. 22

      Act 6 – Text Soliciting Phone Number

      Mr. Meadows considered this part of his role as Chief of Staff, Tr.
      46:24–25, and his conduct was consistent with the duties and

16
   Tr. 44:9–13 (describing role in wrapping up meetings), 59:1–2 (“[P]art of me
being there in my official capacity would have been to try and assist with time
management and wrap-up the meeting . . . .”).
17
   Tr. 45, 45:5–7 (describing need to “be aware of what is consuming the President’s
time or taking his attention”).
18
   Tr. 44:25–45:3 (“Certainly as Chief of Staff, again, giving advice to the President,
but also making sure that the White House counsel is informed, others being able to
give advice to the President.”).
19
   Tr. 58:20–21 (describing meetings “where the President might request at a later
date something that would happen”).
20
   Tr. 59:18–24 (“[F]rom a standpoint of trying to make sure that elections are—are
accurate, you know, does that have a federal nexus, I would assume it would have a
federal nexus. I mean, we have operations within the federal government that tries
to make sure our elections are accurate, whether it’s [DHS], DOJ or others.”).
21
   Tr. 62:10–16 (“[T]he President . . . often makes recommendations on legislation
that could come up, make recommendations on how to make sure elections are safer
and secure. There is potential for executive orders . . . . So all of those things would
be part of why you would have to be in a meeting like that.”).
22
   The State did not move for admission of Michael Shirkey’s testimony before the
January 6th Select Committee, though the State attached it as an exhibit to its
Response brief. Had it, Mr. Meadows would have objected to the transcript as
unreliable hearsay. But even if considered, the Shirkey transcript shows only that
“Mr Meadows sat on the sofa behind [the participants]” and later took them on a
“detailed tour” of the White House, Shirkey Tr., Dkt. No. 27-1, at 15:4–5, 20–21,
which corroborates Mr. Meadows’s testimony.
                                           9

                                        App.710
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 10 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 33 of 129




      responsibilities of that role, namely gathering information (and phone
      numbers in particular) for the President.23 Mr. Meadows frequently
      obtained phone numbers for the President, Tr. 66:14–18, and in this
      instance, did not know why the President wanted to speak with
      Pennsylvania legislators, Tr. 66:19–67:15. The State presented no
      contrary evidence.

      Act 9 – Pennsylvania White House Meeting

      Mr. Meadows “was not actually in this meeting,” Tr. 48:11–12, but to
      the extent he was involved at all, it was in his role as Chief of Staff, Tr.
      48:4–7. He was called down beforehand to notify visiting legislators of
      their positive COVID tests. Tr. 48–49. His conduct was consistent with
      the duties and responsibilities of that role, namely protecting the
      President’s health and physical safety.24 The State presented no
      contrary evidence.

      Act 19 – Requesting McEntee Memo

      Mr. Meadows “did not ask” Mr. McEntee for this memo, Tr. 50:12; see
      also Tr. 50:7, 51:7–8, but to the extent he was involved at all, it would

23
   Tr. 46:24–47:1 (“[C]ertainly, [it was] in my role as Chief of Staff to get additional
phone numbers for the President on a variety of individuals.”), 47:8–10 (“Just the
President wanted the phone number. So I was asked on a pretty regular occasion for
numbers.”), 66:14–18 (“And getting a phone number for the President of the United
States was—was something that I did regularly. And so as Chief of Staff, getting
numbers that was not readily available for the White House switchboard, I did on a
pretty regular basis.”).
24
   Tr. 48:23–49:3 (“I recall going down to—to the cabinet room where they were
assembling at that particular point, introduced myself as the Chief of Staff, and then
tried to let the individuals know that there was three of them that wouldn’t be able
to meet with the President because they had—had, you know, come down with a
positive COVID test”), 74:6–11 (“[T]he federal role obviously was protecting the
President of the United States when I went down to make sure that he was not getting
COVID. So security of our Commander in Chief, that was a federal role in me being
there. And trying to make sure that we followed . . . White House protocols . . . that
I put in place.”).
                                           10

                                        App.711
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 11 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 34 of 129




      have been in his role as Chief of Staff, Tr. 49:17–19, and it would have
      been consistent with the duties and responsibilities of that role,
      including directing and supervising staff of the Office of the President
      in preparing memos and other tasks,25 maintaining awareness of matters
      before the President,26 and advising the President on matters of federal
      law, including implementation of the Electoral Count Act, 3 U.S.C.
      § 15. The State presented no contrary evidence, including no evidence
      that Mr. Meadows arranged or attended such a meeting; nor did the
      State introduce a memo prepared by Mr. McEntee.27

      Act 92 – Visiting Cobb County Civic Center

      Mr. Meadows considered this part of his role as Chief of Staff, Tr.
      51:20–23,28 and his conduct was consistent with the duties and
      responsibilities of that role, including gathering information about and
      maintaining awareness of matters the President would likely bring up,29

25
   Tr. 49:17–19 (“[I]t was common for the Chief of Staff, in his role of Chief of Staff,
to ask individuals for memos on a variety of topics, and—and I often did so.”),
49:22–23 (identifying McEntee was the principal member of the White House staff
responsible for personnel matters).
26
   See supra n.17.
27
   The State did not move for admission of Johnny McEntee’s testimony before the
January 6th Select Committee, though the State attached it as an exhibit to its
Response brief. Had it, Mr. Meadows would have objected to the transcript as
unreliable hearsay. But even if considered, the McEntee transcript shows only that
Mr. McEntee did not “remember” who asked him to write a memo, but “it was
probably the President,” McEntee Tr., Dkt. No. 27-3, at 144:20–21; that he could
not “remember who it was” who asked about the topic, id. at 142:21–23; and that he
does not recall to whom he gave the memo, id. at 145:7–8, none of which shows Mr.
Meadows did anything, much less that he exceeded his federal role.
28
   See also Tr. 85:7–10 (“I believed I was there supporting the President, as I’ve
mentioned earlier, in my federal role as Chief of Staff, which, bluntly, is to keep him
well-informed and well-advised on a variety of issues.”).
29
   Tr. 52:9–14 (“I felt like that anticipating where the President would not only ask,
but bring it up, . . . to see the actual count in process would keep me well informed
so that I could advise the President of what I observed in person instead of reading
about it or hearing speculation from other people.”), 53:4–7 (explaining that he was
                                            11

                                        App.712
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 12 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 35 of 129




      informing and advising the President on matters of concern to manage
      the President’s ability to give time and attention to Presidential duties,30
      and maintaining knowledge about matters that could be subject to
      proposed legislation or executive orders. 31 The State presented no
      contrary evidence; indeed, its witness, Secretary Raffensperger,
      contradicted the State’s allegations and testified that Mr. Meadows
      “didn’t express any objections as far as [he was] aware to how that audit
      was being conducted” and “didn’t ask for anything to be done
      differently when he visited that audit.” Tr. 218:9–16.

      Act 93 – President’s Call to Frances Watson

      Mr. Meadows considered arranging this call part of his role as Chief of
      Staff, Tr. 53:17–21, and did not participate in the call itself, Tr. 89:10–
      11. His conduct was consistent with the duties and responsibilities of
      that role, including arranging and staffing the President’s calls and

“truly just in a fact-finding mode to observe what they were doing and felt like the
Secretary of State’s office was doing a good job on that.”), 77:11–12 (“[M]y concern
was that—that if there was an audit procedure being done, to reiterate with the
President the veracity of that audit . . . .”), 77:22–24 (“[T]hat question did come up
[with the President] and I was able to talk about how I felt like Ms. Watson and the
GBI had done an outstanding job in Cobb County.”).
30
   Tr. 81:9–15 (explaining that he was “trying to make sure that I kept the President
well informed . . . . Broadly looking at his time and trying to make sure that, with all
of the other things that were going on, checking off a box to say this has been
checked, that’s a question that’s been asked and answered.”), 96:20–97:2 (“And
being able to take this particular question of signature verifications . . . off the table,
would allow for one area to be closed. Be able to work towards, you know, a peaceful
transition of power, continue to work on the other issues . . . [F]or me, it was being
able to take an open question off the table.”).
31
   Tr. 81:10–11 (explaining that it was important to “be able to inform [the President]
of any potential for executive orders, future legislation”), 81:23–82:5 (describing
“the potential federal interest, the potential for future legislation, for executive
orders, . . . for other federal agencies to be aware. You know, it’s not just the
President. It would be—in terms of elections, it’s [DHS], it’s DOJ, it’s others that
all are concerned about a free and fair election. And so being able to advise him of
that was—was critical. That’s part of—part of my role.”).
                                             12

                                         App.713
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 13 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 36 of 129




      meetings, 32 and maintaining awareness of matters before the
      President. 33 The State presented no contrary evidence; the State did not
      call Ms. Watson, despite issuing a subpoena for her testimony, and
      introduced no evidence of the call itself.

      Act 96 – Text Regarding Signature Verification

      Mr. Meadows did not text Ms. Watson, as charged in the Indictment,
      Tr. 54:8–10, though communicated something similar to Jordan Fuchs
      as part of a broader text message, Tr. 90:14–16. Contrary to the State’s
      characterization, the message was not a “financial offer” but an inquiry
      about the ability “to speed things up,” Tr. 91:25–92:2, based on a
      similar development in Wisconsin, Tr. 92:6–17. Mr. Meadows
      considered these communications part of his role of Chief of Staff, Tr.
      54:3–4, and his conduct was consistent with the duties and
      responsibilities of that role, including gathering information on matters
      before the President,34 advising the President,35 and managing the
      President’s time and ability to give attention to federal duties by closing


32
   See generally Tr. 16:8–15; see also Tr. 89:7–8 (acknowledging that he “arrange[d]
a telephone call between Ms. Watson and then President Trump”).
33
   Tr. 16:10–13 (“Part of my job was to . . . be aware of everything that was going
on or try to be aware of everything, which ended up being a much more difficult task
than I could ever, ever imagine”), 19:24–20:5 (“So a lot of times the meetings asked
for were getting so I could give the President advice, either in private or in the
meeting. . . . [R]eally it was about me trying to be aware.”), 33:18–34:5 (“[Q] Why
did you need to know what was going on, including politically? [A] One, to give
advice to the President of the United States. To help prioritize his time. But the other
is, is trying to skate to where the puck is. There were no rhyme or reason where
questions might come up, . . . [a]nd so having—having a broad understanding of
what was going on was . . . critically important as a senior advisor to the President
so that I could anticipate what logistics were needed and what we needed to do.”).
34
   Tr. 92:15–17 (explaining that the issue “came up” based on a recent White House
meeting about a similar recount issue in Wisconsin).
35
   Tr. 92:23–93:2 (“I didn’t speak for the campaign, didn’t work for the campaign.
But certainly being able to advise the President of the United States. You know, he
was looking at ways to make sure that we could get a definitive yes or no quickly.”).
                                          13

                                        App.714
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 14 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 37 of 129




      out matters of ongoing concern to the President.36 The State presented
      no contrary evidence and did not introduce the text message in question.

      Act 112 – January 2 Secretary Raffensperger Call

      Mr. Meadows considered this part of his role as Chief of Staff, Tr. 51:4–
      11,37 and his conduct was consistent with the duties and responsibilities
      of that role, including maintaining awareness of matters before the
      President, 38 setting up meetings between the President and state
      officials at the President’s request, 39 managing the President’s time by
      addressing matters taking the President’s attention and impacting the
      ability to address matters of ongoing federal concern, 40 and addressing

36
   See supra n.30.
37
   See also Tr. 124:16–17 (“I was actually in my Chief of Staff’s office by myself.”).
38
   Tr. 129:16–19 (“What I’m saying is I kept getting asked about it in my official
duties as Chief of Staff of the President of the United States. I kept getting asked
about Fulton County and was there going to be a signature verification.”).
39
   Tr. 110:16–18 (“Me setting up a phone call for the President of the United States
at his direction was certainly something that I believe was in my duty as Chief of
Staff to help facilitate.”).
40
   Tr. 127:23–128:12 (“[F]or me it was all about trying to make sure that a number
of these allegations . . . make sure we’ve got those issues dealt with. And . . . be able
to finish up the things that we had in 60 days, have a peaceful transfer of power,
make sure that we got all of that done. . . . And if I knew that [allegations] were not
true, it was much easier for me to speak with authority with the President.”), 123:21–
133:1 (“At least we’ve got something here that hopefully we can agree upon . . .
Let’s get this particular issue off the table. Hopefully get the attorneys together
where they can talk about it. And . . . use that as an opportunity to close out the
call.”), 149:24–150:5 (“I felt like that if we could get both groups together where the
attorneys were talking to each other, that they would be able to look at the veracity
of some of the claims . . . and make a determination as to whether they were valid or
not valid and hopefully get this off of the President’s concern list and as we look to
continue on towards January 20th what ultimately would happen.”), 151:2–8
(“[T]here were a number of issues that continued to get raised in the White House.
Questions of whether allegations of fraud . . . . But I also had a timeline in terms of
getting certain things done. And those, so long as they were open questions, would
not allow us to continue with the transition.”).
                                            14

                                        App.715
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 15 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 38 of 129




       the federal interest in free and fair elections. 41 The State did not present
       contrary evidence; Secretary Raffensperger confirmed Mr. Meadows’s
       limited role in the call (consistent with audio recording introduced into
       evidence), noting that Mr. Meadows “was acting on behalf of the
       President,” Tr. 219:14; making clear that he did not believe Mr.
       Meadows’s participation or statements on the call were
       “inappropriate,” Tr. 220:16; and acknowledging that Mr. Meadows did
       not make any requests to change vote totals, Tr. 222:6–9, or make
       allegations of voter fraud, Tr. 220:5–7.42

Thus, based on the Notice of Removal and the record before the Court, each one of

these charged acts has a sufficient connection to Mr. Meadow’s official duties to

support removal. But based on the black-letter law outlined above, the Court need

not reach that conclusion to permit removal. If the Court finds that any charged

conduct relates to Mr. Meadow’s official duties, that is the end of the inquiry;

removal must be permitted.

                               *       *      *      *      *

       The Court should promptly permit removal and so notify the state court.




41
   Tr. 110:2–6 (“[C]ertainly in a broad sense, [I was] trying to make sure that we had
accurate, fair elections, . . . whether that’s . . . an Article I, II, and III responsibility,
we all want an accurate election.”).
42
   State witness Kurt Hilbert testified that he “never met Mr. Meadows,” Tr. 163:5;
that he did not consult with Mr. Meadows about Trump campaign litigation, Tr.
179:17–20; that he never spoke to Mr. Meadows after the January 2 call, Tr. 181:13;
and that he understood that Mr. Meadows participated on the call because he was
Chief of Staff, Tr. 184:22–25.
                                             15

                                           App.716
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 16 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 39 of 129




Dated: August 31, 2023                        Respectfully submitted,

                                              /s/ George J. Terwilliger III

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                                         16

                                       App.717
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 17 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 40 of 129




                          CERTIFICATE OF SERVICE

      On August 31, 2023, the foregoing Supplemental Brief of Defendant Mark

R. Meadows in Support of His Notice of Removal was electronically filed with the

Clerk of Court using the CM/ECF system, which will automatically send email

notification of such filing to all attorneys of record.

      This, the 31st day of August, 2023.


 /s/ John S. Moran

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                                           17

                                         App.718
      Case 1:23-cv-03621-SCJ Document 67 Filed 08/31/23 Page 18 of 18
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 41 of 129




                     CERTIFICATE OF COMPLIANCE

      The undersigned certifies that 14-point Times New Roman font was used for

this document and that it has been formatted in compliance with Local Rule 5.1.

      This, the 31st day of August, 2023.

/s/ John S. Moran

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                                        18

                                     App.719
USCA11 Case: 23-12958   Document: 33-5   Date Filed: 09/18/2023   Page: 42 of 129




                                Tab 69
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 1 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 43 of 129




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


     THE STATE OF GEORGIA
                                                              CIVIL ACTION FILE
     v.
                                                            No. 1:23-CV-03621-SCJ
     MARK R. MEADOWS,
                                                       RE: NOTICE OF REMOVAL OF
                                                       FULTON COUNTY SUPERIOR
      Defendant.                                           COURT INDICTMENT
                                                             NO. 23SC188947


                                                   ORDER

           This matter appears before the Court following Defendant Mark R.

     Meadows’s filing of a Notice of Removal. Doc. No. [1]. 1 This Order addresses a

     relatively narrow question: Has Meadows carried his burden of demonstrating

     that removal of the State of Georgia’s criminal prosecution against him is proper

     under the federal officer removal statute, 28 U.S.C. § 1442(a)? Having considered

     the arguments and evidence, the Court concludes that Meadows has not met his

     burden. Therefore, the Court DECLINES to assume jurisdiction over the State’s




     1 All citations are to the electronic docket unless otherwise noted, and all page numbers

     are those imprinted by the Court’s docketing software.




                                         App.720
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 2 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 44 of 129




     criminal prosecution of Meadows under 28 U.S.C. § 1455 and REMANDS the

     case to Fulton County Superior Court. 2

            Because the Court lacks jurisdiction over this matter, the Court DIRECTS

     the Clerk to TERMINATE all pending motions and CLOSE this case.

     I.     BACKGROUND

            Meadows served as the White House Chief of Staff. 3 Defendant’s Exhibit

     (“DX”) 1. His tenure began on March 31, 2020 and ended on January 20, 2021,

     when President Biden assumed the Office of President of the United States. Id.;

     Doc. No. [65] (“Hearing Tr.”) Tr. 9:22–10:3.

            On August 14, 2023, a Fulton County, Georgia Grand Jury returned an

     indictment charging 19 Defendants with various crimes related to alleged post-

     election interference with the 2020 presidential election in Georgia (“the



     2 Despite using the term “remand” the Court has not actually assumed jurisdiction over

     this case under Section 1455, and the State proceedings are ongoing. Nevertheless,
     Section 1455 itself conceives of some form of remand, 28 U.S.C. § 1455(b)(4), and other
     federal courts who have failed to find that federal jurisdiction exists over a criminal
     prosecution have “remanded” the prosecution to the state court. See, e.g., New York v.
     Trump, ---F. Supp. 3d----, No. 23 CIV. 3773 (AKH), 2023 WL 4614689, at *1 (S.D.N.Y. July
     19, 2023).
     3 Meadows’s commission lists his official title as Assistant to the President and Chief of

     Staff. See DX 1. For consistency in this Order, the Court will use the term “White House
     Chief of Staff” to encompass Meadows’s full title of “Assistant to the President and
     Chief of Staff.”
                                               2



                                         App.721
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 3 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 45 of 129




     Indictment”). Doc. No. [1-1]. The Indictment charged all Defendants with

     conspiracy under the Georgia Racketeer Influenced and Corrupt Organizations

     (“RICO”) Act, O.C.G.A. § 16-14-4(c). Doc. No. [1-1], 13 (Count 1). It also charged

     different co-Defendants with other various criminal violations. See generally

     Doc. No. [1-1], 72–97 (Counts 2–41).

           The Indictment charges Meadows specifically with the RICO conspiracy,

     O.C.G.A. § 16-14-4(c), and solicitation of violation of oath by a public officer,

     O.C.G.A. §§ 16-14-7 & 16-10-1. Doc. No. [1-1], 13 (Count 1), 87 (Count 28).

     Meadows argues that the charges against him relate to the scope of his official

     duties and that he has colorable federal defenses. See, generally Doc. No. [1].

     Based on those arguments, on August 15, 2023, Meadows filed his Notice of

     Removal of the criminal prosecution in this Court. Id.

           Relying on 28 U.S.C. § 1455, Meadows asserts federal officer jurisdiction

     under 28 U.S.C. § 1442. See, generally id. The Court declined to summarily

     remand Meadows’s removal action and ordered an evidentiary hearing be held

     on the Notice of Removal on August 28, 2023, pursuant to Section 1455(b)(5). Doc.

     No. [6]. The Court also ordered the State to respond to Meadows’s Notice of

     Removal (id.), which it did on August 23, 2023 (Doc. No. [27]). Meadows replied


                                            3



                                      App.722
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 4 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 46 of 129




     on August 25, 2023. Doc. No. [45]. The same day, the Court permitted amicus

     curiae to file a brief in support of declining jurisdiction. Doc. Nos. [54]; [55].

            Before the hearing, Meadows filed a Motion to Dismiss (Doc. No. [15]) and

     an Emergency Motion to enjoin his arrest in Fulton County, Georgia (Doc. No.

     [17]). The Motion to Dismiss remains outstanding on the Court’s Docket. The

     Court denied Meadows’s Emergency Motion under 28 U.S.C. § 1455(b)(3), which

     expressly mandates that the state court criminal proceeding continues until the

     federal court notifies the state court that it has assumed federal jurisdiction over

     the prosecution. Doc. No. [25].

            On August 28, 2023, the Court held a hearing on Meadows’s Notice of

     Removal. Doc. No. [62]. Meadows personally testified 4 and, through counsel,

     admitted a number of exhibits, including two declarations of persons who




     4
      At a criminal trial, the State has the burden of proof. Thus, at a criminal defendant’s
     trial on the merits, he never has the obligation of presenting a defense or testifying, and
     those choices can never be held against him. U.S. Const. amend. V. For a notice of
     removal, however, the Defendant has the burden of establishing subject matter
     jurisdiction. 28 U.S.C. § 1455(b)(5); See Leonard v. Enter. Rent a Car, 279 F.3d 967, 972
     (11th Cir. 2002) (“A removing defendant bears the burden of proving proper federal
     jurisdiction.”); cf. also Maryland v. Soper, 270 U.S. 9, 34 (1926) (discussing defendant’s
     testifying in support of their notice of removal of a criminal indictment) (collecting
     cases).


                                               4



                                         App.723
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 5 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 47 of 129




     worked in the White House at the time he was the White House Chief of Staff

     and were familiar with his role in the administration as Chief of Staff. The State

     called Kurt Hilbert, an attorney who represented President Trump and the

     Trump campaign in 2020, and Georgia Secretary of State, Brad Raffensperger.

     The State also admitted a number of exhibits, including an audio recording of the

     January 2, 2021 phone call between President Trump, Secretary Raffensperger,

     and others, in which Meadows participated. State’s Exhibit (“SX”) 3.

           At the conclusion of the hearing, the Court took the matter of its

     jurisdiction over the criminal prosecution under advisement. The Court

     subsequently ordered post-hearing briefing regarding the role of the

     Indictment’s alleged overt acts for purposes of determining applicability of the

     federal officer removal statute. Doc. No. [63]. The Parties timely submitted the

     requested briefing. Doc. Nos. [66]; [67]. Having considered the arguments put

     forth by the Parties, the evidence submitted at the evidentiary hearing, and the

     briefing on this matter, the Court now enters this Order concluding that the Court

     lacks federal jurisdiction over Meadows’s criminal prosecution.




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                                      App.724
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 6 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 48 of 129




     II.   LEGAL STANDARD

           “[A] federal district court should be slow to act ‘where its powers are

     invoked to interfere by injunction with threatened criminal prosecutions in a

     state court.’” Cameron v. Johnson, 390 U.S. 611, 618 (1968) (quoting Douglas v.

     City of Jeannette, 319 U.S. 157, 162 (1943)). There is a “strong judicial policy

     against federal interference with state criminal proceedings.” Arizona v.

     Manypenny, 451 U.S. 232, 243 (1981) (quoting Huffman v. Pursue, Ltd., 420 U.S.

     592, 600 (1975)).

           An exception to those general concepts of federalism is the federal officer

     removal statute, 28 U.S.C. § 1442(a)(1). That statute, allows for federal jurisdiction

     over “a criminal prosecution . . . against . . . any officer (or any person acting

     under that officer) of the United States . . . for or relating to any act under color

     of such office.” Federal officer removal “is an incident of federal supremacy and

     is designed to provide federal officials with a federal forum in which to raise

     defenses arising from their official duties.” Florida v. Cohen, 887 F.2d 1451, 1453

     (11th Cir. 1989) (citing Willingham v. Morgan, 395 U.S. 402, 405 (1969)). However,

     because of a preference for state courts conducting their state prosecutions,

     removal of a state criminal prosecution requires a “more detailed showing” of


                                             6



                                       App.725
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 7 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 49 of 129




     the relation between the acts charged and the federal role at issue. Willingham v.

     Morgan, 395 U.S. 402, 409 n.4 (1969). Furthermore, federal courts must maintain

     a balance between what Section 1442 allows and respect for a State’s right to deal

     with matters properly within its domain.

           Meadows removed this criminal prosecution under 28 U.S.C. § 1455, which

     provides the procedure for removing a state criminal prosecution to a federal

     district court. “28 U.S.C. § 1455 ‘merely provides procedures that must be

     followed in order to remove a criminal case from state court when a defendant

     has the right to do so under another provision.’” Maine v. Counts, No. 22-1841,

     2023 WL 3167442, at *1 (1st Cir. Feb. 16, 2023) (quoting Kruebbe v. Beevers, 692

     F. App’x 173, 176 (5th Cir. 2017) (per curiam)). Upon filing a notice of removal,

     the Court must promptly determine whether the notice and its attachments

     clearly fail to establish the Court’s subject matter jurisdiction, and if they do, the

     case is summarily remanded to state court. 28 U.S.C. § 1455(b)(4). If summary

     remand is not granted, then the district court must “promptly” hold an

     evidentiary hearing to determine the “disposition of the prosecution as justice

     shall require.” Id. § 1455(b)(5). Based on the facts adduced at the hearing and the

     arguments put forth by the Parties, the Court must determine whether the


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                                       App.726
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 8 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 50 of 129




     Defendant has met his burden in establishing that the Court has subject matter

     jurisdiction over his criminal prosecution. Trump, 2023 WL 4614689, at * 5 (citing

     United Food & Comm. Workers Union v. CenterMark Props. Meriden Square,

     Inc., 30 F.3d 298, 301 (2d Cir. 1994)).

           Under 28 U.S.C. § 1442, the question of the scope of a federal officer’s

     authority contains issues of law and fact. See Nadler v. Mann, 951 F.2d 301, 305

     (11th Cir. 1992) (“[D]etermination[s] of whether an employee’s actions are within

     the scope of his employment involve[ ] a question of law and fact.”).

           Ultimately, for removal under Section 1455 to be proper, the removing

     party must show that there is a basis for the federal court to exercise jurisdiction

     over the criminal prosecution. See Leonard, 972 F.3d at 972 (“A removing

     defendant bears the burden of proving proper federal jurisdiction.”). If the Court

     lacks federal jurisdiction, then the case cannot proceed in this forum.

           The Supreme Court has cautioned that “an airtight case on the merits in

     order to show the required causal connection” is not required and that courts are

     to “credit” the movant’s “theory of the case” for the elements of the jurisdictional




                                               8



                                        App.727
       Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 9 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 51 of 129




     inquiry. 5 Jefferson Cnty. v. Acker, 527 U.S. 423, 432 (1999). “The point is only that

     the officer should have to identify as the gravamen of the suit an act that was, if

     not required by, at least closely connected with, the performance of his official

     duties.” Id. at 447 (Scalia, J., dissenting).

     III.   ANALYSIS

            To determine whether Meadows is able to remove based on federal officer

     jurisdiction pursuant to 28 U.S.C. § 1442(a)(1), the Court must answer the

     following questions: (1) whether Meadows was a federal officer during the time

     of the allegations in the Indictment, (2) whether the charged conduct in the

     criminal prosecution were undertaken for or related to Meadows color of office, 6

     and (3) whether Meadows has put forth a colorable federal defense for the




     5 The Court notes that this language in Acker refers to the colorable defense prong of

     the analysis. 527 U.S. at 432. It is unclear whether the theory of the case language applies
     to the second prong of the analysis. Nevertheless, the Court will evaluate the theory of
     the case as it relates to the color of office because at least one district court recently has
     applied it in this manner. See Georgia v. Heinze, 637 F. Supp. 3d 1316, 1322 (N.D. Ga.
     2022).
     6 Acts taken under color of office, must be either “vested with, or appear to be vested

     with, the authority entrusted to that office.” Color of Office, Black’s Law Dictionary
     (11th ed. 2019).


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                                           App.728
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 10 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 52 of 129




     criminal prosecution. Caver v. Cent. Ala. Elec. Coop., 845 F.3d 1138, 1142 (11th

     Cir. 2017).

              The State concedes that at the time of the events alleged in the Indictment,

     Meadows was a federal officer and his role was the White House Chief of Staff.

     Hearing Tr. 251:12–17. Thus, the Court must next evaluate the second question

     of whether the acts in the Indictment relate to his role as White House Chief of

     Staff.

              To determine whether the charged conduct was undertaken for, or related

     to Meadows’s color of office, the Court must: (A) define the act(s) allegedly

     undertaken by Meadows in the Indictment, (B) ascertain the scope of the federal

     officer role of the White House Chief of Staff, and (C) analyze whether Meadows

     showed that the act(s) in the Indictment were for or related to the role of the

     White House Chief of Staff.

              A.    The Federal Officer Removal Statute

              The Court must define what constitutes an “act” under 28 U.S.C.

     § 1442(a)(1). Then, the Court must assess how the “act” functions under the RICO




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                                        App.729
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 11 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 53 of 129




     statute. Finally, the Court will establish the contours of the act as they relate to

     Meadows in the Indictment. 7

                   1.     Section 1442: The Text and Precedent

            The pertinent portion of § 1442(a)(1) provides: “[a] . . . criminal

     prosecution that is commenced in a State court and that is against or directed

     to . . . any officer . . . of the United States . . . in an official or individual capacity,

     for or relating to any act under color of such office” “may be removed by them

     to the district court of the United States.” The phrase “for or relating to any act

     under color of such office” modifies the earlier clause, “[a] criminal

     prosecution . . . that is directed against or directed to an officer” of the United

     States. 28 U.S.C. § 1442(a)(1). This structure indicates that the criminal

     prosecution must arise from an act that is for or relating to the color of a federal

     office. Even if a criminal defendant can characterize individual instances of

     behavior as part of his official duties within the broader charged conduct, this is

     not enough to convey subject matter jurisdiction on this Court. Put differently,




     7 This Court primarily focuses on the Indictment’s RICO charge because the other

     charge against Meadows, soliciting a violation of an oath by a public official, is also
     alleged as an overt act (with evidence submitted) in support of the RICO charge.
     Compare Doc. No. [1-1], 50 (Overt Act 112), with id. at 87 (Count 28).
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                                          App.730
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 12 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 54 of 129




     facts indicating that a criminal defendant at times operated under the scope of

     his federal office will not provide this Court with subject matter jurisdiction

     under Section 1442 unless the State is criminally prosecuting the officer for those

     specific acts.

            This interpretation is consistent with other courts’ analyses. Specifically,

     courts have looked at whether the “claims” or the “charges” related to acts taken

     within the scope of the federal office. 8 In Nadler, the Eleventh Circuit suggested

     that the district court had subject matter jurisdiction where “one claim is

     cognizable under Section 1442 . . . .” 951 F.2d at 306 n.9 (emphasis added)

     (quoting National Audubon Soc. v. Dep’t of Water & Power, 496 F. Supp. 499,

     509 (E.D. Cal. 1980)). Therefore, the Court looks at (1) what the charges are against

     the federal officer, and (2) whether the charged conduct is for or relates to the

     color of the federal office.

            The cases cited by Meadows support the proposition that courts look to the

     whole “claim” alleged, not just isolated facts supporting the claim, to determine




     8 “Claims” in civil actions correspond to “charges” in criminal prosecutions. Cf. Kellogg

     Brown & Root Srvs. v. United States, 575 U.S. 650, 653 (2015) (“[W]e must
     decide . . . whether the Wartime Suspension of Limitations Act applies only to criminal
     charges or also to civil claims.” (emphasis added)).
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                                         App.731
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 13 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 55 of 129




     whether Section 1442 has been satisfied. Doc. No. [67], 2 nn.1–3; see also Heinze,

     637 F. Supp. 3d at 1323 (“[A] federal officer can remove a criminal proceeding

     commenced in a State court where the criminal charges involve actions taken ‘in

     an official or individual capacity . . . .’” (quoting 28 U.S.C. § 1442(a)(1) (emphasis

     added));    Ladies    Mem’l     Ass’n       Inc.   v.   City   of   Pensacola,    No.

     3:20CV5681/MCR/ZCB, 2023 WL 2561785, at *3 (N.D. Fla. Mar. 17, 2023) (“If the

     complaint contains ‘even one federal claim[,]’ then the defendant has ‘the right to

     remove the entire case.’” (alteration in original) (emphasis added) (quoting

     Convent Corp. v. City of N. Little Rock, 784 F.3d 479, 483 (8th Cir. 2015))); Sawyer

     v. Foster Wheeler LLC, 860 F.3d 249, 257 (4th Cir. 2017) (finding removal where

     an officer asserts a federal defense to even one claim). Thus, the Court looks at the

     criminal charge to determine whether the charge relates to the scope of

     Meadows’s federal office.

           “To satisfy the [scope of federal office] requirement, the officer must show

     a nexus, ‘a causal connection, between the charged conduct and asserted official

     authority.” Acker, 527 U.S. at 431 (quoting Willingham, 395 U.S. at 409). The

     Supreme Court has articulated the following test for the “under color of office”

     requirement:


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                                       App.732
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 14 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 56 of 129




                 There must be a causal connection between what the
                 officer has done under asserted official authority and the
                 state prosecution. It must appear that the prosecution of
                 him, for whatever offense, has arisen out of the acts done
                 by him under color of federal authority and in
                 enforcement of federal law, and he must by direct
                 averment exclude the possibility that it was based on acts
                 or conduct of his not justified by his federal duty.

     Mesa v. California, 489 U.S. 121, 131–32 (1989) (quoting Soper, 270 U.S. at 32).

     Under Eleventh Circuit jurisprudence, a key factor in determining applicability

     of the federal officer removal statute “is whether there is a causal connection

     between [the State’s charges] and an act of Defendant [] that forms the basis of

     those claims.” Caver, 845 F.3d at 1144.

           The Court notes that the RICO charge against Meadows presents a novel

     question in this case. Most cases invoking federal officer removal involve claims

     based on discrete actions taken by a defendant. For example, in Heinze, the

     defendants were charged with the discrete acts of felony murder, aggravated

     assault with a deadly weapon, burglary, false statements, and violation of oath

     by a public officer.” 637 F. Supp. 3d at 1318, nn.1–2. A RICO conspiracy,

     alternatively, involves wide-ranging allegations of licit and illicit activities,

     undertaken by an association of individuals, and in furtherance of a criminal

     enterprise. See Section (III)(A)(1) infra. The State’s prosecution in this case is
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                                      App.733
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 15 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 57 of 129




     illustrative: the conspiracy charged here is alleged to have occurred over many

     months, included at least 19 individuals, and encompassed 161 overt acts. Doc.

     No. [1-1].

           Although RICO conspiracies are rarely removed under Section 1442, the

     Court is not without some precedent to guide the analysis. In 1982, the Eleventh

     Circuit evaluated whether an FBI agent, as a federal officer, had a federal

     immunity defense under the Supremacy Clause against a Georgia RICO charge.

     Baucom v. Martin, 677 F.2d 1346, 1347–48 (11th Cir. 1982). 9 The Eleventh Circuit

     affirmed the district court, who found that the sole overt act alleged against the

     FBI agent related to bribing a state court judge. Id. at 1348–51. The district court

     found, and the Eleventh Circuit affirmed, the conduct charged against the FBI

     agent was taken within the scope of the agent’s federal office because the bribery

     occurred during the execution of a state and federal criminal investigation into

     judicial corruption. Id.




     9 Baucom was not a removal case. Rather, it was a federal suit filed by the officer to

     preemptively prevent the commencement of a state criminal prosecution. Baucom, 677
     F.2d 1346.
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                                       App.734
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 16 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 58 of 129




           On the other hand, the Fourth Circuit Court of Appeals held that the

     district court did not err in declining to exercise jurisdiction under Section 1442

     where “the heart of [the plaintiff]’s claims” did not relate to the scope of federal

     duty. Mayor & City Council of Balt. v. BP P.L.C., 31 F.4th 178, 234 (4th Cir. 2022).

     In that case, the civil complaint alleged that the defendants, as agents of the

     United States, contributed “to climate change by producing, promoting, selling,

     and concealing the dangers of fossil[-]fuel products.” Id. at 233 (alteration in

     original). The Fourth Circuit affirmed the district court’s finding that defendants

     did not show a basis for federal officer removal by looking at the complaint as a

     whole. The Fourth Circuit determined that while some activities were arguably

     within the scope the federal office (i.e., the production and concealment of

     hazardous fossil fuels was controlled or directed by a federal officer), the “lack

     of federal control over the production and sale of all fossil-fuel products is

     relevant to the nexus analysis.” Id. at 234. Moreover, even if production and sales

     were controlled or directed by a federal officer, the “heart” of the claims asserted

     was concealment and misrepresentation—which did not remove to the

     defendant’s official duties. Id. Ultimately, the Fourth Circuit concluded that the

     activities relating to the official duties (i.e., production and sales) were “too


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                                       App.735
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 17 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 59 of 129




     tenuous” to the allegations of concealment and misrepresentation “to support

     removal under § 1442.” Id. at 234.

           Thus, under the text of the statute, binding authority, and persuasive

     authority, the Court finds that “act” in the federal officer removal statute is best

     defined as the “heart” of the criminal charge. BP PLC, 31 F.4th at 234. With this

     in mind, the Court now turns to the charges at issue in this case.

                  2.     The Georgia RICO Charge

           The Indictment charges Meadows and his 18 Co-Defendants with

     engaging in a RICO conspiracy to violate RICO statute. RICO statute provides

     that it is unlawful “to conspire or endeavor to [‘conduct or participate in, directly

     or indirectly, such enterprise through a pattern of racketeering activity’.]”

     O.C.G.A. § 16-14-4(c) (quoting id. § 16-14-4(b)). An “enterprise” is defined as

     “any person . . . or association, or group of individuals associated in fact although

     not a legal entity[.]” Id. § 16-14-3(3). The enterprise itself need not be illicit. Id.

     For purposes of this case, a “[p]attern of racketeering activity” requires at least

     two acts of racketeering activity with “same or similar intents, results,

     accomplices, victims, or methods of commission or otherwise are interrelated by

     distinguishing characteristics and are not isolated incidents[.]” Id. § 16-14-3(4).


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                                        App.736
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 18 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 60 of 129




     “Racketeering activity” includes the commission (or attempted commission or

     solicitation, coercion, or intimidation of another to commit) of a variety of

     Georgia criminal statutes. See id. § 16-14-3(5)(A). It also can include violations of

     certain types of state or federal laws outside the State of Georgia. Id. § 16-14-

     3(5)(B)–(C).

           The RICO conspiracy charge only requires, at the least, that one co-

     conspirator commit an “overt act to effect the object of the conspiracy[.]” Id. § 16-

     14-4(c)(1). While not specifically defined in the RICO statute, the Georgia

     Supreme Court has indicated that an overt act under the general conspiracy

     provision, O.C.G.A. § 16-14-8, means “a specific type of open or manifest act

     made in furtherance of a conspiracy to commit a crime.” Bradford v. State, 285

     Ga. 1, 4, 673 S.E.2d 201, 204 (2009). Critically, for conspiracy crimes, “the

     indictment [need not] set forth the particulars of the overt act.” State v. Pittman,

     302 Ga. App. 531, 535, 690 S.E.2d 661, 664 (2010) (quoting Bradford v. State, 283

     Ga. App. 75, 78, 640 S.E.2d 630, 633 (2006), rev’d on other grounds Bradford, 285

     Ga. at 1, 673 S.E. at 203). Indeed, “the government is not required to prove the

     overt act specified in the indictment.” Nordahl v. State, 306 Ga. 15, 26, 829 S.E. 2d

     99, 109 (2019). Nor, must the State ultimately prove that each co-conspirator


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                                       App.737
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 19 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 61 of 129




     defendant committed an overt act, so long as one co-conspirator committed overt

     acts in furtherance of the conspiracy. Cf. Thomas v. State, 215 Ga. App. 522, 523,

     451 S.E.2d 516, 517 (1994).

           In sum, to establish a RICO conspiracy the State only need prove that any

     co-conspirator committed one overt act in furtherance of the conspiracy, whether

     the overt act was specifically charged in the Indictment or not. In other words,

     the State can prove its RICO charge against Meadows by showing any one of his

     co-Defendants committed any overt act in furtherance of the conspiracy—

     whether that overt act is in the Indictment or not.

           The overt acts alleged against Meadows specifically “includ[e] but are not

     limited to” (Doc. No. [1-1], 20): attending a meeting with President Trump and

     Michigan officials about election fraud in Michigan (id. at 21 (Overt Act 5)),

     messaging a United States Representative from Pennsylvania (id. at 21 (Overt Act

     6)), meeting with Pennsylvania legislators about an election-related special

     session (id. at 22 (Overt Act 9)), requesting a memo regarding “disrupting and

     delaying the joint session of Congress on January 6, 2021” when electors’ votes

     were to be counted (id. at 24 (Overt Act 19)), physically attending and observing

     a nonpublic Georgia election audit and recount (id. at 44 (Overt Act 92)),


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                                      App.738
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 20 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 62 of 129




     arranging a phone call between President Trump and the Georgia Secretary of

     State’s Chief Investigator regarding the Georgia presidential election results (id.

     (Overt Act 93)), messaging the Chief Investigator about the potential for a quicker

     signature verification of the Fulton County election results if “the [T]rump

     campaign assist[ed] financially” (id. at 45 (Overt Act 96)), and soliciting Georgia

     Secretary of State Brad Raffensperger to violate his oath of office by altering the

     certified returns for presidential electors (id. at 50 (Overt Act 112); see also id. at

     87 (Count 28 against Meadows under O.C.G.A. §§ 16-14-7 & 16-10-1)).

           While the Indictment’s named overt acts are not elements of the RICO

     conspiracy charged, the Court still finds that they are relevant evidence of

     whether Meadows’s association with the enterprise related to his role as White

     House Chief of Staff. See Section (III)(C)(2) infra.

           To clarify, under Georgia RICO, the overt acts are not elements of the RICO

     charge. They are used to illustrate the existence of the conspiracy and the various

     alleged co-conspirators’ association with the conspiracy. Georgia law makes clear

     that the State need not prove the existence of any particular overt act to prove its

     RICO claim, nor must the State prove any of the overt acts that are currently

     alleged in the Indictment. Because the “act” as defined by Section 1442(a)(1)


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                                        App.739
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 21 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 63 of 129




     means the charge against Meadows—under Georgia’s RICO statute—his

     criminal prosecution is removable when his association with the conspiracy

     relates to the color of his federal office.

                  3.       The Alleged Act Taken for Purposes of Federal Officer
                           Removal

           Federal officer removal is appropriate when the gravamen, or “heart” of

     the charge relates to the federal office. BP P.L.C., 31 F.4th at 234. As stated above,

     the Court determines that the actual “act” alleged against Meadows is the RICO

     charge, not the overt acts. Section 1442 requires the Court to determine if

     Meadows was acting within the scope of his federal office in the alleged act of

     associating with a conspiracy to violate various Georgia criminal statutes. Put

     differently, the act at issue for purposes of the Indictment’s RICO charge is

     Meadows’s alleged association with the conspiracy. The overt acts, however, “by

     and large . . . only serve to tell a broader story about” the conspiracy to

     “unlawfully change the outcome of [the 2020 presidential] election in favor of

     [President] Trump” but they are “not the source of [criminal] liability.” Id. at 233;

     Doc. No. [1-1], 14.

           The Court acknowledges that, even though it was not required, the State

     chose to include these overt acts in the Indictment. Unsurprisingly, Meadows
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                                         App.740
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 22 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 64 of 129




     structured his evidentiary presentation to the Court and his briefing around the

     eight overt acts in which he is mentioned. Following the hearing, the Court itself

     ordered supplemental briefing on the issue of whether a finding that some, but

     not all overt act(s) involving Meadows acting under color of federal office was

     enough to trigger the removal statute. Doc. No. [63]. And to be sure, defining

     Meadows’s “act” as associating with the alleged RICO conspiracy does not

     preclude assessing the overt acts alleged. See Baucom, 677 F.2d at 1346

     (evaluating the overt acts alleged against the FBI agent to determine whether his

     involvement in the conspiracy was for his federal duties). Accordingly, the

     Court’s subsequent discussion of the “relating to” requirement for federal officer

     removal includes an analysis of the overt acts in order to determine whether

     Meadows’s association with the alleged conspiracy (the conduct for which he

     was charged) related to the scope of his federal duties.

           Because the inquiry hinges on whether Meadows’s association with the

     conspiracy related to the color of his office, however, jurisdiction is not conferred

     simply because a single overt act relates to Meadows’s federal office. After all,

     the Indictment alleges a series of associative acts spanning over a year, and the

     overt acts attributed to Meadows span three months. Doc. No. [1-1], 15–71.


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                                       App.741
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 23 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 65 of 129




     Undoubtedly, during that time Meadows performed actions for or that related to

     the color of his office. But the relevant inquiry is what activities go the heart of

     Meadows’s participation in the enterprise and whether those activities relate to

     the scope of his federal office. If they do not, then Meadows cannot satisfy his

     burden of establishing subject matter jurisdiction under the federal officer

     removal statute.

           B.     Meadows’s Role as a Federal Officer

           Having defined the “act” at issue for federal officer removal, the Court

     now turns to Meadows’s federal office and its scope. This inquiry is necessary

     because the authority of Meadows’s office will dictate the scope of the duties

     associated with that role. At the evidentiary hearing, Meadows testified broadly

     to the scope of his role as White House Chief of Staff; he also offered two

     declarations to further describe the Chief of Staff’s role. Hearing Tr. 9:8

     (commencing Meadows’s testimony), 156:19–158:24 (admitting the two

     declarations as DX 3 and 4). 10 Meadows also testified about his role specifically

     in reference to the Indictment’s overt acts.



     10The Court admitted these declarations over the State’s objection and indicated that it
     would assess the weight to be given the declarations given they are unsworn and

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                                        App.742
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 24 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 66 of 129




                  1.     The White House Chief of Staff Role

           Meadows was the White House Chief of Staff and Assistant to President

     Trump from March 30, 2020 until January 20, 2021. DX 1; Hearing Tr. 9:25–10:3.

     His official title was “[A]ssistant to the President and Chief of Staff.” Id. at 13:8–

     10; DX 1. He described himself as “the senior official in charge of the Executive

     Office of the President.” Hearing Tr. 14:3–5; see also DX 3 ¶ 3 (indicating

     Meadows had “broad responsibilities” including “advising and assisting the

     President and managing the staff of the White House Office within the Executive

     Office of the President”); DX 4 ¶ 4 (asserting that Meadows “[was] responsible

     for keeping the trains running on time for the White House [and] the Executive

     Branch of the federal government”). Meadows described his position to require

     “oversee[ing] all the federal operations,” which extended to actions taken inside

     of and outside of the West Wing. Hearing Tr. 13:10–12.

           Specifically, Meadows testified that he was part of “almost every meeting”

     with the President, either as a “principal” or as an “observer.” Id. at 16:8–10; DX




     unnotarized. Hearing Tr. 158:23–24. In this Order, the Court considers these
     declarations but affords their contents most weight when corroborated by other
     testimony or evidence.
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                                       App.743
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 25 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 67 of 129




     4 ¶ 6 (“Meadows’s general practice was to attend many but not all the meetings

     between the President and other parties, regardless of subject matter.”). In

     meetings, “principals” may “have a particular position” regarding a “particular

     issue” and would “try to show the pros and cons of [the] arguments so that some

     resolution could be made.” Hearing Tr. 19:1–8. Even as an “observer,” he

     attended the President’s meetings because his job required him to “try to be

     aware of everything [in the meeting] . . . even if [he] was not a principal[.]”

     Hearing Tr. 16:10–15; DX 4 ¶ 5 (“Meadows was responsible for administering the

     planning and scheduling of the President’s meetings, telephone conferences, and

     other engagements, regardless of subject matter.”). These meetings might include

     “members of Congress, other executive branch officials[, and] state or local

     government officials.” Hearing Tr. 21:12–20; see also DX 3 ¶ 5 (indicating the

     Chief of Staff was “responsible for managing the President’s calendar, arranging

     meetings, calls, and other discussions with federal, state, and local officials, as

     well as private citizens”).

           Meadows testified that as Chief of Staff he had to “be aware of the

     President’s schedule.” Hearing Tr. 19:16. This meant he would “move meetings

     along . . . do the wrap-up . . . and bring things to a close where there was an


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                                      App.744
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 26 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 68 of 129




     action item[.]” Id. at 19:16–22. If other executive branch staff were in the meeting

     to ensure it efficiently ended, then Meadows’s involvement might be limited to a

     “quick pop in” on the meeting. Id. at 20:19–25.

           Meadows asserts that another function of Meadows’s role as White House

     Chief of Staff was “to be generally aware of what’s going on” because he often

     was called upon to give the President advice. Id. at 19:23–20:7, 45:8–11. It also

     helped Meadows “prioritize [the President’s] time” and “skate to where the

     p[uck] is” on certain issues. Id. at 33:20–24.

           Meadows also testified that as White House Chief of Staff he was bound

     by the Hatch Act 11 and he could not engage in political activity. Hearing Tr. 39:7–

     25; 135:21–136:5. As discussed more fully below, the Hatch Act prohibits “an

     employee” from “us[ing] his official authority or influence for the purpose of

     affecting the result of an election.” 5 U.S.C. § 2732(a)(1). This includes, “[u]sing

     his or her official title while participating in political activity.” 5 C.F.R. §

     734.302(b)(2). And political activity is defined as, “activity directed toward the




     11 To be clear, no Hatch Act violation has been charged against Meadows. And the Court

     is not determining if Meadows violated the Act, or if there is any merit to a potential
     Hatch Act claim.
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                                        App.745
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 27 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 69 of 129




     success or failure of a political party, candidate for partisan political office, or

     partisan political group.” Id. § 734.101.

           The Court finds that the color of the Office of the White House Chief of

     Staff did not include working with or working for the Trump campaign, except

     for simply coordinating the President’s schedule, traveling with the President to

     his campaign events, and redirecting communications to the campaign. Thus,

     consistent with his testimony and the federal statutes and regulations, engaging

     in political activities is exceeds the outer limits of the Office of the White House

     Chief of Staff.

                  2.    Meadows’s Testimony and Theory of the Case

           Meadows’s theory of the case is that he is entitled to immunity because the

     Indictment relates to his role as White House Chief of Staff. Doc. No. [1]. As part

     of his direct and cross examination testimony, Meadows addressed how the overt

     acts related to his specific federal role as the White Chief of Staff. Ultimately,

     Meadows concluded that, based on the topics and circumstances discussed in his

     testimony, he had not done anything outside the scope of his role as the White

     House Chief of Staff. Hearing Tr. 111:18–19. However, he did admit that there




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                                       App.746
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 28 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 70 of 129




     could be activities the President requested which would be outside of the scope

     of the role a. Id. at 112:15–113:11.

           While the Court credits Meadows’s testimony about his role as White

     House Chief of Staff, it will give greater weight to the testimony of specific tasks

     that he outlined as within the scope of his office (i.e., time management, attending

     meetings, briefing the President, etc.). Meadows testified consistently about these

     duties on both direct and cross-examinations. Additionally, these duties are

     corroborated by the Declarations filed in support of Meadows’s Notice of

     Removal (DXs 3, 4). However, the Court gives less weight to his assertions that

     all actions he took were within the scope of his office. When questioned about the

     scope of his authority, Meadows was unable to explain the limits of his authority,

     other than his inability to stump for the President or work onbehalf of the

     campaign. Hearing Tr. 111:12–113:6. The Court finds that Meadows did not

     adequately convey the outer limits of his authority, and thus, the Court gives that

     testimony less weight. 12



     12 In this case, Meadows was the main witness presenting testimony for his case. Thus,

     the Court must determine the appropriate amount of weight to assign to his testimony
     when evaluating it, the same as it does any other witness in an evidentiary hearing.
     However, given the nature of the motion, and the pending criminal proceedings the

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                                        App.747
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 29 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 71 of 129




           C.     RICO: Meadows Was Not Acting Under Color of Office

           The Court now turns to whether the acts alleged against and taken by

     Meadows are related to the color of his office as White House Chief of Staff. It

     ultimately concludes that the relevant acts are outside the scope of Meadows’s

     federal office.

                  1.     Federal and Statutory Limitations Regarding the Scope of the
                         Office of White House Chief of Staff

                           a)    Constitutional requirements

           The Constitution does not provide any basis for executive branch

     involvement with State election and post-election procedures. The Elections

     Clause expressly reserves the “Times, Places, and Manner” of elections to state

     legislatures. U.S. Const. art. I, § 4, cl. 1; see also Shelby Cnty. v. Holder 570 U.S.

     529, 543 (2013) (“[T]he Framers of the Constitution intended the States to keep for

     themselves, as provided in the Tenth Amendment, the power to regulate

     elections.” (quoting Gregory v. Ashcroft, 501 U.S. 452, 461–62 (1991)); U.S. Term




     Court makes these decisions with great caution. The determinations here do not go to
     Meadows’s propensity to be truthful as a general matter. However, the Court cannot
     undertake the task assigned by 28 U.S.C. § 1455(b)(5) without assigning the appropriate
     weight to the testimony.
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                                        App.748
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 30 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 72 of 129




     Limits, Inc. v. Thornton, 514 U.S. 779, 833–34 (1995) (“[T]he Framers understood

     the Elections Clause as a grant of authority [to state legislatures] to issue

     procedural regulations, and not as a source of power to dictate electoral

     outcomes, to favor or disfavor a class of candidates, or to evade important

     constitutional restraints.”). States have been tasked under the Elections Clause to

     “provide a complete code” for elections which ought to include “regulations

     ‘relat[ing] to . . . prevention of fraud and corrupt practices [and] counting of

     votes . . . .’” Moore v. Harper, 600 U.S. ----, 143 S. Ct. 2065, 2085 (2023) (quoting

     Smiley v. Holm, 285 U.S. 355, 366 (1932)). This is not a power incident to a State’s

     police powers but “derives from an express grant in the Constitution.” Fish v.

     Kobach, 840 F.3d 710, 727 (10th Cir. 2016).

           Courts have previously faced tough questions in cases involving

     Congress’s power to use its lawmaking authority to oversee or empower the

     States in their duties under the Elections Clause. Cf. e.g., id. at 725–26 (“The

     Supreme Court has recently and repeatedly reaffirmed that ‘the power the

     Elections Clause confers is none other than the power to pre-empt[ ]’ . . . ‘The

     Clause is a default provision; it invests the States with responsibility for the

     mechanics of congressional elections, but only so far as Congress declines to


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                                       App.749
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 31 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 73 of 129




     preempt state legislative choices.’” (quoting Arizona v. Inter Tribal Council of

     Ariz., Inc., 571 U.S. 1, 14–15 (2013) (first quotation); Foster v. Love, 522 U.S. 67, 69

     (1997) (second quotation))). Indeed, when the Supreme Court has discussed

     federal power limiting States’ authority over elections, it has cited to congressional

     power, not executive power. See, e.g., Shelby Cnty., 570 U.S. at 543.

            Conversely, there are no similar close calls presented when executive

     authority is at issue. As a constitutional matter, executive power does not extend

     to overseeing states’ elections. 13 Apart from spheres where federal supremacy




     13 The only potential constitutional authority, the Take Care Clause, does not enable the

     type of election oversight to which the State’s Indictment pertains. See U.S. Const. art.
     II, § 3 (“[The President] shall take Care that the Laws be faithfully executed[.]”). Yet,
     executive authority under the Take Care Clause “does not extend to government
     officials over whom [the Executive] has no power or control.” Thompson v. Trump, 590
     F. Supp. 3d 46, 78 (D.D.C. 2022). The Court accordingly rejects Meadows’s suggestion
     that the Take Care Clause provides a basis for finding executive authority over state
     election procedures. Doc. No. [45], 9–10.
             The Court is also unpersuaded by Meadows’s contention that his acts involving
     state election procedures are within executive power to advise Congress. Doc. No. [45],
     10. It would be inconsistent with federalism and the separation of powers, to find that
     activities which are delegated to the states are also within the scope of executive power
     because the executive branch may advise Congress. Cf. Fish, 840 F.3d at 725–26 (“The
     [Elections] Clause is a default provision; it invests the States with responsibility for the
     mechanics of congressional elections, but only so far as Congress declines to preempt state
     legislative choices.” (quoting Foster, 522 U.S. at 69). The Court will not find that the
     executive branch has some advisory authority in this space in light of the express
     constitutional grant over elections to the States.
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                                          App.750
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 32 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 74 of 129




     supersedes, “States function as political entities in their own right.” Bond v.

     United States, 564 U.S. 211, 221 (2011). Here, there is clear constitutional authority

     delegating the procedures of elections to the States. See Const. art. I, § 4, cl. 1.

     Thus, the executive branch cannot claim power to involve itself in States’ election

     procedures when the Constitution clearly grants the States the power to manage

     elections under the Elections Clause.

                          b)     Statutory requirements

           Statutorily, the Hatch Act is helpful in defining the outer limits of the scope

     the White House Chief of Staff’s authority. The State argues, and Meadows

     agrees, that he is bound by the Hatch Act, a law that prohibits federal employees

     from engaging in political activity. Doc. No. [27]; Hearing Tr.136:3–5. While the

     Court does not rely on the merits of a Hatch Act violation, it does recognize that

     the Hatch Act provides that political activity is not included in the outer limits of

     the role of the White House Chief of Staff. The Hatch Act prohibits executive

     branch employees from “us[ing] [their] official authority or influence for the

     purpose of interfering with or affecting the result of an election[.]”

     5 U.S.C. § 7323(a)(1). The federal regulation governing political activities of

     federal employees prohibits the same. 5 C.F.R. § 734.302(a). The regulation,


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                                       App.751
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 33 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 75 of 129




     moreover, broadly defines “political activity” to be “activity directed toward the

     success or failure of a political party, candidate for partisan political office, or

     partisan political group.” Id. § 734.101. The types of behaviors that Meadows is

     alleged to be involved in included post-election activities and election outcomes

     in various States pertaining to a particular candidate for office. If these potentially

     political activities indeed come against the Hatch Act, its regulations limit such

     efforts. These prohibitions on executive branch employees (including the White

     House Chief of Staff) reinforce the Court’s conclusion that Meadows has not

     shown how his actions relate to the scope of his federal executive branch office.

     Federal officer removal is thereby inapposite.

                  2.     Meadows’s Has Not Met His Burden in Establishing the
                         Acts Are Related to His Federal Office

           Even under the “quite low” bar for federal officer removal, the Court

     concludes that Meadows has not met his burden to show that his criminal

     prosecution can be removed under the federal officer removal statute. “Although

     the words ‘acting under’ are ‘broad,’ the Supreme Court has emphasized that

     they are not ‘limitless.’” BP PLC, 31 F.4th at 228–29 (quoting Watson v. Philip

     Morris Cos., Inc., 551 U.S. 142, 150 (2007)); Acker, 527 U.S. at 447 (Scalia, J.,

     dissenting) (opining that the act that forms the basis of “the gravamen of the
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                                        App.752
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 34 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 76 of 129




     suit . . . [is] at least closely connected with, the performance of his official

     functions.”).

           The Court concludes that Meadows has not met even the “quite low”

     threshold for removal. Again, what the Court must decide for purposes of federal

     officer removal is whether the actions Meadows took as a participant in the

     alleged enterprise (the charged conduct) were related to his federal role as White

     House Chief of Staff. The evidence adduced at the hearing establishes that the

     actions at the heart of the State’s charges against Meadows were taken on behalf

     of the Trump campaign with an ultimate goal of affecting state election activities

     and procedures. Meadows himself testified that working for the Trump

     campaign would be outside the scope of a White House Chief of Staff. Hearing

     Tr. 113:2–6.

           As the Court has also explained, the overt acts are merely illustrative in

     nature and not elements of the crimes charged against Meadows. Nevertheless,

     the overt acts are set out in the Indictment and Meadows shaped his entire

     evidentiary presentation around them. Therefore, the Court will assess each of

     Meadows’s overt acts to factually determine if they fall within the scope of

     Meadows role as a federal officer.


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                                      App.753
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 35 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 77 of 129




           The Court finds Meadows only carried his burden in showing that one of

     the eight overt acts attributed to Meadows could have occurred within the scope

     of Meadows’s federal office. Overt Act 6 provides that Meadows “sent a text

     message to United States Representative Scott Perry from Pennsylvania and

     stated, ‘Can you send me the number for the speaker and the leader of PA

     Legislature[?] POTUS wants to chat with them.’” Doc. No. [1-1], 21. Because

     Overt Act 6 is phrased so broadly, it is conceivable that it encompasses an activity

     that is within the scope of Meadows’s federal duties. Meadows testified that as

     part of his role as Chief of Staff, he would retrieve phone numbers of various state

     officials. Hearing Tr. 47:8–10 (“I was asked on a pretty regular occasion for

     numbers . . . .”). The omission in the Indictment of the context Meadows sought

     this phone number, when coupled with the testimony that retrieving phone

     numbers for state officials was a routine part of his role as Chief of Staff, leaves

     the Court to conclude Overt Act 6 arguably occurred within the scope of

     Meadows’s duties as White House Chief of Staff.

           The Court finds that the evidence presented does not show that most of the

     remaining overt acts were related to the scope of Meadows’s role as Chief of




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                                       App.754
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 36 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 78 of 129




     Staff. 14 The procedures States utilize to conduct elections and ensure results are

     not part of the executive branch’s role or powers. See Section (III)(C)(1)(a) supra.

     As a senior official in the executive branch, therefore, Meadows cannot have

     acted in his role as a federal officer with respect to any efforts to influence,

     interfere with, disrupt, oversee, or change state elections: those activities are

     expressly delegated to the States.

            Overt Act 96 alleges that Meadows sent a text message to the Office of the

     Georgia Secretary of State’s Chief Investigator Frances Watson 15 asking, “[i]s

     there a way to speed up Fulton County signature verification in order to have

     results before Jan 6 if the [T]rump campaign assists financially.” Doc. No. [1-1],

     45. At the hearing, Meadows testified that no federal funds would be available to



     14  At the hearing, Meadows disputed the merits of Overt Acts 9 and 19. Hearing Tr.
     43:10–49:9, 73:18–22, 50:4–9. With respect to Overt Act 9, he disputed that he
     participated in the November 25, 2020 meeting with the Pennsylvania Legislatures.
     Hearing Tr. 43:10–49:9, 73:18–22. Similarly, Meadows disputed that he asked McEntee
     for the memorandum as alleged in the Indictment. Hearing Tr. 50:4–9; Doc. No. [1-1], 24
     (Overt Act 19). Meadows is not required to show that he is innocent of the charges
     against him to successfully remove his case. Soper, 270 U.S. at 32–33. Neither is the State
     required to prove the overt acts as part of its burden of proof at trial. See Section
     (III)(A)(2) supra. Accordingly, to the extent necessary, the Court treats the evidence
     propounded in support of Overt Acts 9 and 19 as neutral to the determination of
     whether particular Overt Acts were within the scope of Meadows’s federal office.
     15 At the hearing, Meadows testified that he believed the message was to Ms. Jordan

     Fuchs, not Ms. Watson. Hearing Tr. 90:1–6.
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                                         App.755
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 37 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 79 of 129




     the Trump campaign to support this request. Hearing Tr. 93:10–12. Nevertheless,

     Meadows testified that he was not speaking for the campaign in this message,

     but that it was “in keeping of me trying to ask a person who should know

     whether it’s a financial resource issue, you know, manpower issue or whatever.

     So I wasn’t speaking on behalf of the campaign.” Id. at 93:3–6.

           Meadows failed to provide sufficient evidence that these actions related to

     any legitimate purpose of the executive branch. The Court determines as a matter

     of fact, making a request to the Georgia Secretary of State’s Office regarding a

     possibility that the Trump campaign could provide financial resources to fund

     the recount effort, even if not directly on behalf of the campaign, is still campaign-

     related political activity. Thus, Meadows has not met his burden in establishing

     that Overt Act 96 related to the scope of his official duties.

           Similarly, Overt Act 92 alleges that Meadows traveled to Cobb County,

     Georgia where he “attempted to observe the signature match audit being

     performed there by law enforcement officers from the Georgia Bureau of

     Investigations and the Office of the Georgia Secretary of State.” Doc. No. [1-1],

     44. Meadows testified that his actions with respect to this allegation were:

                  in line with [his duties], because what I did was go to
                  the Cobb County convention center to look at the
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                                       App.756
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 38 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 80 of 129




                  process that they were going through. And in doing so
                  was trying to, again, check that box to say, all right,
                  everything is being done right here, and so if there’s
                  allegations of fraud, we need to move on to something
                  else.

     Hearing Tr. 152:4–17. The Court factually finds that Meadows overseeing State

     election recount processes related to President Trump’s reelection campaign.

     Meadows failed to provide sufficient evidence that these actions related to any

     legitimate purpose of the executive branch. Accordingly, the Court finds

     Meadows has not met his burden in establishing that Overt Act 92 is related to

     scope of the Office of White House Chief of Staff.

           Overt Act 112 alleges that Meadows participated in the January 2, 2021

     phone call with Donald Trump and Secretary Raffensperger to unlawfully solicit

     the Secretary of State to alter the certified returns for the presidential electors for

     the November 3, 2022 presidential election. Doc. No. [1-1], 51. At the hearing

     Meadows rationalized his involvement in this call as seeking a compromise and

     settlement of the Trump campaign’s suit against the State of Georgia. He testified

     “this phone call, setting it up with the attorneys where they could find some kind

     of compromise. . . .” Hearing Tr. 108:14–17. He acknowledged that the lawyers

     on the phone call were lawyers for either the President Trump personally or the


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                                        App.757
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 39 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 81 of 129




     Trump campaign and that no lawyers from the Office of White House Counsel

     or the Department of Justice were on the call. Id. at 107:11–108:1; 210:3. The

     Supreme Court has instructed that involvement in private litigation is not part of

     the executive branch’s role or powers. See Clinton v. Jones, 520 U.S. 681, 702 n.36

     (1997). Therefore, based on the evidence presented, the Court finds that the

     January 2, 2021 phone call was made regarding private litigation brought by

     President and his campaign against the State of Georgia. It was therefore outside

     Meadows’s federal role as an executive branch officer.

           Furthermore, another participant on the call, Raffensperger testified that

     “[t]hose were Trump campaign lawyers [on the call], so I felt that it was a

     campaign call.” Id. 210:2–3. In the same vein, Meadows’s participation in the

     phone call clearly reflects campaign-related interests. He said:

           Mr. Secretary, obviously there is, there are allegations where we
           believe that not every vote or fair vote and legal vote was -- was --
           counted and that’s at odds with the representation from the
           secretary of state’s office. What I’m hopeful for is there some way
           that we can find some kind of agreement to look at this a little bit
           more fully. You know the president mentioned Fulton County. But
           in some of these areas where there seems to be a difference of where
           the facts seem to lead, and so Mr. Secretary, I was hopeful that, you
           know, in the spirit of cooperation and compromise is there
           something that we can at least have a discussion to look at some of
           these allegations to find a path forward that’s less litigious?


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                                      App.758
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 40 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 82 of 129




     SX 3, 12:49–14:00. The record is clear that Meadows substantively discussed

     investigating    alleged   fraud    in   the   November     3,   2022   presidential

     election. Therefore, the Court finds that these contributions to the phone call

     with Secretary Raffensperger went beyond those activities that are within the

     official role of White House Chief of Staff, such as scheduling the President’s

     phone calls, observing meetings, and attempting to wrap up meetings in order to

     keep the President on schedule. Rather, Meadows’s participation on the January

     2, 2021 call was political in nature and involved the President’s private litigation,

     neither of which are related to the scope of the Office of White House Chief of

     Staff. By failing to adduce evidence that these actions related to any legitimate

     purpose of the executive branch, Meadows did not satisfy the burden of showing

     that these actions related to the color of his office.

           Finally, the Court finds that activities by Meadows—even if characterized

     as scheduling meetings or phone calls or taken for the purpose of advising the

     President—are “political activities” under the pertinent regulations if they were

     for the purpose of furthering the common objective of success of a particular

     presidential candidate. See 5 C.F.R § 734.101. Overt Acts 5 and 93 relate to

     attending and scheduling meetings and placing phone calls. Doc. No. [1-1], 21–


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                                        App.759
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 41 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 83 of 129




     22, 44. The Court finds that the underlying substance of those meetings and calls

     were related to political activities and not to the scope of Meadows’s federal

     office.

               For the meeting with Michigan state officials, Meadows testified that he

     recalled “most of that [meeting] had to do with allegations of potential [election]

     fraud in Michigan . . . .”. 16 Hearing Tr. at 44:20–22; see also id. at 64:2–7. He also

     acknowledged that “President Trump had a personal interest in the outcome of

     the election in Michigan.” Id. at 63:12–15; see also id. at 64:8–13. Accordingly the

     meeting in Overt Act 5 was outside the scope of his federal executive branch

     office as they related to State election procedures following the presidential

     election.

               The Court also finds that Overt Act 93 was outside the scope of Meadows’s

     federal executive role. Overt Act 93 alleges that Meadows arranged a phone call

     between President Trump and the Georgia Secretary of State’s Chief Investigator.



     16 Meadows later testified that he did not know of any specific election challenge in
     Michigan by the Trump campaign or the federal government. Hearing Tr. 57:21–58:4.
     He further clarified however that “[Trump] was concerned about the election results,
     but in terms of a lawsuit, [Meadows was] not aware of it.” Id. at 63:22–24. The Court
     finds Meadows’s knowledge of President Trump’s concern about the election sufficient
     to find that, at the time of this meeting, Meadows had a general awareness of the post-
     election activities in Michigan regarding the state’s election procedures.
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                                        App.760
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 42 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 84 of 129




     Meadows admits to arranging this phone call. Hearing Tr. 53:17–20. Meadows

     later testified that he received this phone number either through his attendance

     of the Cobb County election recount or by his primary contact at the Georgia

     Secretary of State’s Office. Hearing Tr. 89:15–24. Meadows failed to provide

     sufficient evidence that these actions related to any legitimate purpose of the

     executive branch. Accordingly, the Court finds that Meadows failed to carry his

     burden in showing that Overt Act 93 was in the scope of Meadow’s official role

     as Chief of Staff.

           As set forth above, the Court finds insufficient evidence to establish that

     the gravamen, or a heavy majority of overt acts alleged against Meadows relate

     to his role as White House Chief of Staff. The State has put forth evidence that at

     various points during the time of the alleged conspiracy Meadows worked with

     the Trump campaign, which he admitted was outside of the role of the White

     House Chief of Staff. See SX 3 12:49–14:00. Tr. 91:11–20; 95:19–96:23. In light of

     the State’s evidence that Meadows undertook actions on behalf of the campaign

     during the time period of the alleged conspiracy, Meadows was required to come

     forward with competent proof of his factual contention that his actions involving

     challenges to the outcome of the Georgia’s Presidential election results were


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                                      App.761
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 43 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 85 of 129




     within his role as Chief of Staff. His efforts fall short. See Mesa, 489 U.S. at 131–

     32 (“There must be a causal connection between what the officer has done under

     asserted official authority and the state prosecution. It must appear that the

     prosecution of him, for whatever offense, has arisen out of the acts done by him

     under color of federal authority and in enforcement of federal law, and he must

     by direct averment exclude the possibility that it was based on acts or conduct of

     his not justified by his federal duty.”).

           Instead, the evidence before the Court overwhelmingly suggests that

     Meadows was not acting in his scope of executive branch duties during most of

     the Overt Acts alleged. Even if Meadows took on tasks that mirror the duties that

     he carried out when acting in his official role as White House Chief of Staff (such

     as attending meetings, scheduling phone calls, and managing the President’s

     time) he has failed to demonstrate how the election-related activities that serve

     as the basis for the charges in the Indictment are related to any of his official acts.

     As the substance of the overt acts constituted a significant part of Meadows’s

     testimony and proof of his acting within the scope of his federal office, the Court

     concludes that based on the factual evidence, Meadows was not acting in the

     scope of his office for purposes of federal officer removal.


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                                        App.762
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 44 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 86 of 129




              D.    Count 28

              Count 28 of the Indictment is substantively the same as Overt Act 112 in

     the RICO charge. Compare Doc. No. [1-1], 50, with id. at 87. The Court has

     already determined that the January 2nd phone call was not related to

     Meadows’s role as White House Chief of Staff. See Section III(C)(2) supra. For the

     same reasons, the Court determines that Meadows’s participation on this phone

     call was not related to the color of the Office of the White House Chief of Staff.

     Thus, Meadows has not met his burden in establishing that Count 28 related to

     the color of his office and the Court lacks subject matter jurisdiction over that

     claim.

              E.    Federal Defenses

              The third prong of Section 1442 removal requires the defendant to allege

     colorable federal defenses. Caver, 845 F.3d at 1145. Meadows asserts that he has

     immunity from the charges, under the Supremacy Clause, because he was acting

     pursuant to the scope of his office. In his Motion to Dismiss, he also asserts a First

     Amendment political speech defense and a Due Process defense. Doc. No. [15-1],

     29–31. Because Meadows has failed to carry his burden with respect to the




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                                       App.763
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 45 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 87 of 129




     charged conduct’s relationship to the scope of his federal office, the Court

     declines to address Meadows’s defenses. 17

           F.     Federalism

           Finally, the Court finds support for its conclusion that Meadows was not

     acting in the scope of his federal officer role for the purpose of Section 1442.

     Federal officer removal’s “‘basic’ purpose is to protect the Federal Government

     from the interference with its ‘operations[.]’” Watson, 551 U.S. at 150 (2007). It “is

     an incident of federal supremacy and is designed to provide federal officials with

     a federal forum in which to raise defenses arising from their official duties.”

     Caver, 845 F.3d at 1142 (quoting Cohen, 887 F.2d at 1453). At least in the civil

     context, “[t]he removal statute itself merely serves to overcome the ‘well-pleaded

     complaint’ rule which would otherwise preclude removal even if a federal

     defense were alleged.” Mesa, 489 U.S. at 136.




     17 The Superior Court may have to decide these issues at a later time, and evaluating

     them here should be avoided unless absolutely necessary. The “principle of federalism”
     shows “that federal courts must not interfere in state judicial processes because state
     courts of general jurisdiction are authorized and competent, as front-line fora, to
     adjudicate all relevant questions of both state and federal law.” Penthouse Intern., Ltd.
     v. Webb, 594 F. Supp. 1186, 1192 (N.D. Ga. 1984) (citing Younger v. Harris, 401 U.S. 37,
     43–44 (1971)).
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                                         App.764
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 46 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 88 of 129




           Here, Section 1442’s purposes would not be fulfilled by removal. Meadows

     raises a federal officer immunity defense that the Indictment’s charged acts were

     made under his federal authority and directed at state actions. The Indictment’s

     associations and acts, as well as Meadows’s presented evidence, however, all

     indicate that federal officials (or those purporting to act on behalf of federal

     officials) engaged in post-election activities that clearly fall outside executive

     authority and expressly within the constitutional gamut of the States.

           Assuming jurisdiction over this criminal prosecution would frustrate the

     purpose of federal officer removal when the state charges allege—not state

     interference with constitutionally protected federal activities, but—federal

     interference with constitutionally protected state actions. This result cannot stand

     in the face of federalism, “a concept which retains vitality and importance in our

     modern constitutional scheme,” and the Constitution’s express delegation of

     election activities to States. United States v. Ballinger, 395 F.3d 1218, 1248 (11th

     Cir. 2005) (Birch, J., dissenting). Thus, the purposes of federal officer removal are

     served, rather than thwarted, by the Court’s conclusion that it has no jurisdiction

     over the removal of Meadows’s criminal prosecution.




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                                       App.765
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 47 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 89 of 129




                                            * * * *

           As the foregoing analysis illustrates, the Court concludes that Meadows

     has not shown that the actions that triggered the State’s prosecution related to his

     federal office. The Constitution, federal statute and regulation of executive

     branch employees, and the purpose of Section 1442 support this conclusion.

     Meadows’s alleged association with post-election activities was not related to his

     role as White House Chief of Staff or his executive branch authority.

           The Court acknowledges that federal officer’s “relating to” requirement is

     “broad.” Caver, 845 F.3d at 1144. The Court also acknowledges that “[f]ederal

     courts credit the removing party’s theory of the case for purposes of determining

     if a federal officer both acted ‘under color of office’ and raised ‘a colorable federal

     defense.’” Heinze, 637 F. Supp. 3d at 1322 (quoting Acker, 527 U.S. at 432). The

     Court does not take lightly these standards in rendering its conclusion that

     federal officer removal is not supported here. Rather, the Court concludes that if

     it were to agree with Meadows’s arguments regarding removal, the Court would

     have to turn a blind eye to express constitutional power granted to the States to

     determine their election procedures, as well as federal statutory and regulatory

     limitations on political activities of executive branch officials. The Court would


                                             47



                                        App.766
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 48 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 90 of 129




     be ignoring the evidence Meadows himself submitted of his post-election related

     activities and the purpose of the federal officer removal statute. It would be

     legally and factually erroneous for the Court to do so.

           The Court makes clear this Order determines only that, as a federal court

     with limited jurisdiction, it lacks any basis for jurisdiction over Meadows’s

     criminal prosecution. The Court’s conclusion is not to suggest any opinion about

     the State’s case against Meadows. The Court makes no ruling on the merits of the

     charges against Meadows or any defense that he may offer. Meadows maintains

     the presumption of innocence and bears no burden of proving that he did not

     commit the crimes charged against him. The burden of proof beyond a

     reasonable doubt remains with the State. This Order’s sole determination is that

     there is no federal jurisdiction over the criminal case. The outcome of this case

     will be for a Fulton County judge and trier of fact to ultimately decide.

           The Court also makes clear that its determination on Meadows’s notice of

     removal and its jurisdiction over his criminal prosecution does not, at this time,

     have any effect on the outcome of the other co-Defendants who have filed notices




                                            48



                                      App.767
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 49 of 49
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 91 of 129




     of removal of the criminal prosecution against them. 18 The Court will assess these

     Defendants’ arguments and evidence following the forthcoming hearings on the

     notices of removal, independent of its conclusion in this Order.

     IV.   CONCLUSION

           For the foregoing reasons, the Court DECLINES to assume jurisdiction

     over the State’s criminal prosecution of Meadows under Section 1455 and

     REMANDS the case to Fulton County Superior Court. The Court also DIRECTS

     the Clerk of Court to TERMINATE all pending motions and CLOSE this case.



           IT IS SO ORDERED this 8th day of September, 2023.



                                              ________________________________
                                              HONORABLE STEVE C. JONES
                                              UNITED STATES DISTRICT JUDGE




     18 See Georgia v. Jeffrey Bossert Clark, No. 1:23-cv-03721-SCJ (NDGa.); Georgia v. David

     James Shafer, No. 1:23-cv-03720-SCJ (NDGa.); Georgia v. Shawn Micah Tresher Still, No.
     1:23-cv-03792-SCJ (NDGa.); Georgia v. Cathleen Alston Latham, No. 1:23-cv-03803-SCJ
     (NDGa.).
                                              49



                                        App.768
USCA11 Case: 23-12958   Document: 33-5   Date Filed: 09/18/2023   Page: 92 of 129




                                Tab 71
       Case 1:23-cv-03621-SCJ Document 71 Filed 09/08/23 Page 1 of 4
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 93 of 129




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

                                    )
THE STATE OF GEORGIA,               )
                                    )
      v.                            )         Case No. 1:23-cv-03621-SCJ
                                    )
MARK R. MEADOWS,                    )
                                    )
            Defendant.              )
                                    )

                            NOTICE OF APPEAL

      Notice is hereby given that Defendant Mark R. Meadows appeals to the U.S.

Court of Appeals for the Eleventh Circuit from the Order, Dkt. No. 69, issued by

Judge Steve C. Jones on September 8, 2023.




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                                    App.769
       Case 1:23-cv-03621-SCJ Document 71 Filed 09/08/23 Page 2 of 4
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 94 of 129




Dated: September 8, 2023                     Respectfully submitted,

                                             /s/ George J. Terwilliger III

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                                             Counsel to Mark R. Meadows




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                                       App.770
       Case 1:23-cv-03621-SCJ Document 71 Filed 09/08/23 Page 3 of 4
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 95 of 129




                          CERTIFICATE OF SERVICE

      On September 8, 2023, the foregoing Notice of Appeal was electronically

filed with the Clerk of Court using the CM/ECF system, which will automatically

send email notification of such filing to all attorneys of record.

      This, the 8th day of September, 2023.


 /s/ John S. Moran

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                                           3

                                        App.771
       Case 1:23-cv-03621-SCJ Document 71 Filed 09/08/23 Page 4 of 4
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 96 of 129




                     CERTIFICATE OF COMPLIANCE

      The undersigned certifies that 14-point Times New Roman font was used for

this document and that it has been formatted in compliance with Local Rule 5.1.

      This, the 8th day of September, 2023.

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                                        4

                                     App.772
USCA11 Case: 23-12958   Document: 33-5   Date Filed: 09/18/2023   Page: 97 of 129




                                Tab 74
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 1 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 98 of 129




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

                                       )
THE STATE OF GEORGIA,                  )
                                       )
      v.                               )            Case No. 1:23-cv-03621-SCJ
                                       )
MARK R. MEADOWS,                       )
                                       )
             Defendant.                )
                                       )

                DEFENDANT MARK R. MEADOWS’S
           EMERGENCY MOTION FOR STAY PENDING APPEAL

      Pursuant to Civil Rule 62 and Local Rule 7.2(b), Mark R. Meadows asks this

Court to stay the effect of its order, see Remand Order, Dkt. No. 69, which declined

jurisdiction and remanded this case to state court, pending his appeal to the U.S.

Court of Appeals for the Eleventh Circuit, see Notice of Appeal, Dkt. No. 71. Mr.

Meadows intends to seek expedited review in the Court of Appeals later today.1 He

has a right to appeal, see 28 U.S.C. § 1447(d), and a stay of the remand order is

prudent “to help prevent [this] removed case from becoming a shuttlecock, batted



1
  While this is a criminal case, the Court has docketed it as a civil matter. To avoid
any uncertainty about the applicable rules, Mr. Meadows seeks a stay in the district
court before requesting a stay from the Court of Appeals. Given the urgency of the
matter, however, Mr. Meadows intends to ask for a stay from the Court of Appeals
together with his request for expedited review, unless this Court grants a stay before
he does so this afternoon.
                                           1

                                       App.773
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 2 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 99 of 129




back and forth between a state court and a federal court.” Forty Six Hundred LLC v.

Cadence Educ., LLC, 15 F.4th 70, 81 (1st Cir. 2021).

      While Mr. Meadows respectfully believes the Court erred, this Court need not

agree to stay the Remand Order. The Court may stay its order if Mr. Meadows has

“a substantial case on the merits” and the other stay factors—irreparable harm,

balance of equities, and public interest—favor a stay. Garcia-Mir v. Meese, 781 F.2d

1450, 1453 (11th Cir. 1986) (internal quotation omitted); see also Northrop

Grumman Tech. Servs., Inc. v. DynCorp Int’l LLC, No. 1:16CV534, 2016 WL

3346349, at *2 (E.D. Va. June 16, 2016) (first factor calls for the court to “determine

whether there is a strong likelihood that the issues presented on appeal could be

rationally resolved in favor of the party seeking the stay”). The Court should issue

a stay here to prevent the irreparable loss of the rights that Mr. Meadows asserts

under the Federal Officer Removal Statute and the Supremacy Clause.

      First, Mr. Meadows has at least a substantial case on the merits. The Court’s

own order states that the case presented a “novel question,” which informed the

Court’s decision. Remand Order at 14. The Court then relied on the State’s novel

theory of prosecution to distinguish numerous well-established precedents that favor

removal for federal officers. But the Court of Appeals will review those issues de

novo. See Castleberry v. Goldome Credit Corp., 408 F.3d 773, 780–81 (11th Cir.

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                                        App.774
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 3 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 100 of 129




 2005); Jefferson Cnty. v. Acker, 137 F.3d 1314, 1316 (11th Cir. 1998), rev’d on other

 grounds, 527 U.S. 423 (1999). There are several aspects of the Court’s remand order

 that depart from ordinary removal precedent and therefore provide Mr. Meadows at

 least a substantial case on the merits before the Eleventh Circuit:

       Failing to Credit Mr. Meadows’s Account of His Conduct and Duties. The

 Supreme Court has held that federal courts must credit the removing party’s theory

 when determining whether he acted under color of federal office. See Jefferson Cnty.

 v. Acker, 527 U.S. 423, 432 (1999). But in the Remand Order, this Court departed

 from that command and credited the State’s allegations over Mr. Meadows’s

 testimony or discounted Mr. Meadows’s testimony. See, e.g., Remand Order at 19

 (crediting the State’s allegations that Meadows requested a memo on “disrupting and

 delaying the joint session of Congress on January 6, 2021” and that he attended a

 meeting about election fraud in Michigan, when he presented evidence that neither

 event occurred); id. at 36 n.14 (holding that the Court would “treat the evidence

 propounded . . . as neutral to the determination of whether particular Overt Acts were

 within the scope of Meadows’s federal office” because of the State’s allegations).

       Inverting the Standard for Removal of “Mixed” Cases. Both the statutory

 text and binding Eleventh Circuit precedent make clear that, if any portion of a

 prosecution is removable, the entire case is removable. See 28 U.S.C. § 1442(a);

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                                        App.775
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 4 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 101 of 129




 Nadler v. Mann, 951 F.2d 301, 305 n.9 (11th Cir. 1992). But in the Remand Order,

 this Court effectively held the opposite: that the case should be remanded if there is

 any way the State could prove its case without relying on an official act. See, e.g.,

 Remand Order at 19 (“In sum, to establish a RICO conspiracy the State only need

 prove that any co-conspirator committed one overt act in furtherance of the

 conspiracy, whether the overt act was specifically charged in the Indictment or not.

 In other words, the State can prove its RICO charge against Meadows by showing

 any one of his co-Defendants committed any overt act in furtherance of the

 conspiracy—whether that overt act is in the Indictment or not.”); id. at 43

 (recognizing at least some alleged Overt Acts involved Meadows acting within his

 official duty, but still not permitting removal).

       Raising the Burden on Mr. Meadows to Justify Removal. The threshold for

 removal under the Federal Officer Removal Statute is “quite low,” Caver v. Central

 Alabama Elecric. Cooperative, 845 F.3d 1135, 1144 (11th Cir. 2017), and does not

 “demand an airtight case on the merits in order to show the required causal

 connection,” Acker, 527 U.S. at 432. But in the Remand Order, this Court held Mr.

 Meadows to a higher standard, effectively requiring him to prove his defense and

 justify the full scope of his duties in order to obtain removal. See, e.g., Remand Order



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                                         App.776
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 5 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 102 of 129




 at 28 (“Meadows was unable to explain the limits of his authority, other than his

 inability to stump for the President or work on behalf of the campaign.”).

       There is a substantial possibility that the Eleventh Circuit will disagree with

 this Court on at least one of these issues, or on other issues Mr. Meadows will raise

 on appeal. The first factor therefore favors a stay.

       Second, absent a stay, there is a substantial risk Mr. Meadows will be

 irreparably injured. Injuries are irreparable when they are “not easily measurable in

 monetary terms.” WRIGHT & MILLER, 11A FED. PRAC. & PROC. CIV. § 2948.1 (3d

 ed.); see also Cate v. Oldham, 707 F.2d 1176, 1189 (11th Cir. 1983) (injuries are

 irreparable only when they cannot be remedied with money). The federal rights

 Meadows invokes here include freedom not only from liability—i.e., conviction and

 incarceration—but from the burdens of a state-court defense. See New York v.

 Tanella, 374 F.3d 141, 147 (2d Cir. 2004).

       The irreparable harm has already begun. Meadows was compelled to

 surrender on Wednesday, August 24, after the District Attorney refused a modest

 delay of arrest pending federal removal. Meadows has since been compelled to

 waive arraignment, to post a bond, and to begin preparing a defense for potential

 state prosecution. Meadows has sought to minimize this harm by asking the state



                                            5

                                         App.777
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 6 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 103 of 129




 court to sever and stay his case. The state court held a hearing last Thursday on

 related issues, but to date, has not rejected the State’s aggressive timeline.

       At a minimum, the Court should stay the remand order to protect Meadows

 from a conviction pending appeal. Absent a stay, the State will continue seeking to

 try Meadows 42 days from now on October 23, 2023. If the State gets its way,

 Meadows could be forced to go to trial—and could be convicted and incarcerated—

 before the standard timeline for a federal appeal would play out. The rights Meadows

 asserts “would be effectively nullified” if the prosecution goes forward during this

 appeal. Southmark Properties v. Charles House Corp., 742 F.2d 862, 868 (5th Cir.

 1984); see also Davis, 100 U.S. at 262–263 (explaining that the Supremacy Clause

 protects federal officials against being brought to trial in state court).

       The second factor thus strongly favors a stay.

       Third, a stay of Remand Order will not prejudice the State, nor other

 defendants in state court, because it would not prevent other ongoing proceedings;

 it would only prevent the court from entering a verdict against Meadows. And it will

 not prevent proceeding in state court if the State prevails on appeal. Whatever

 minimal burden the State faces from a stay pales in comparison to the burden on

 Meadows. The third factor thus strongly favors a stay.



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                                          App.778
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 7 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 104 of 129




       Finally, a stay is in the public interest. The very premise of Supremacy Clause

 immunity and the Federal Officer Removal Statute is that it is vitally important to

 the proper functioning of our Federal Government that federal officials be free from

 state arrest and prosecution when carrying out their duties. See Tennessee v. Davis,

 100 U.S. 257, 263 (1879). For the State to proceed to trial and seek to impose a

 verdict, it would give rise to the very “chilling effect” that federal law goes out of

 its way to protect against. Tanella, 374 F.3d at 147; see generally In re Neagle, 135

 U.S. 1 (1890). A stay also prevents this case “from becoming a shuttlecock, batted

 back and forth between a state court and a federal court.” Forty Six Hundred LLC,

 15 F.4th at 81. Any public interest in faster state-court proceedings “is overshadowed

 by the rat’s nest of comity and federalism issues which would arise should” the

 Eleventh Circuit agree that Mr. Meadows is entitled to removal. See Northrop, 2016

 WL 3346349, at *4.

                              *     *      *      *     *

       The Court should stay the Remand Order pending appeal.




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                                        App.779
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 8 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 105 of 129




 Dated: September 11, 2023                    Respectfully submitted,

                                              /s/ John S. Moran

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                                        App.780
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 9 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 106 of 129



                            CERTIFICATE OF SERVICE

       On September 11, 2023, the foregoing Defendant Mark R. Meadows’s

 Motion to Stay Pending Appeal was electronically filed with the Clerk of Court

 using the CM/ECF system, which will automatically send email notification of such

 filing to all attorneys of record.

       This, the 11th day of September, 2023.


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                                        9

                                      App.781
       Case 1:23-cv-03621-SCJ Document 74 Filed 09/11/23 Page 10 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 107 of 129



                      CERTIFICATE OF COMPLIANCE

       The undersigned certifies that 14-point Times New Roman font was used for

 this document and that it has been formatted in compliance with Local Rule 5.1.

       This, the 11th day of September, 2023.

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                                      App.782
USCA11 Case: 23-12958   Document: 33-5   Date Filed: 09/18/2023   Page: 108 of 129




                                 Tab 78
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 1 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 109 of 129




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  THE STATE OF GEORGIA,                )
                                       )           CIVIL ACTION NO.
                                       )           1:23-cv-03621-SCJ
                                       )
  v.                                   )
                                       )           RE: NOTICE OF REMOVAL
                                       )           OF FULTON COUNTY
                                       )           SUPERIOR COURT
  MARK RANDALL MEADOWS                 )           INDICTMENT NO.
                                       )           23SC188947

   THE STATE OF GEORGIA’S RESPONSE IN OPPOSITION TO THE
 DEFENDANT’S EMERGENCY MOTION FOR STAY PENDING APPEAL

       Defendant Mark R. Meadows has moved this Court for an Emergency Motion

 for Stay Pending Appeal. Pursuant to this Court’s Order, the State of Georgia, by

 and through Fulton County District Attorney Fani T. Willis, responds that the

 defendant’s motion does not show he can carry the heavy burden required to receive

 such a stay. The State of Georgia respectfully asks that this Court deny the

 Emergency Motion.

       “A stay is considered ‘extraordinary relief’ for which the moving party bears

 a ‘heavy burden.’” Larios v. Cox, 305 F. Supp. 2d 1335, 1336 (N.D. Ga. 2004)

 (quoting Winston-Salem/Forsyth Cty. Bd. Of Educ. v. Scott, 404 U.S. 1221, 1231

 (1971)). As noted by the defendant in his Motion, the applicable standard consists




                                      App.783
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 2 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 110 of 129



 of a four part test: “(1) whether the stay applicant has made a strong showing that he

 is likely to succeed on the merits; (2) whether the applicant will be irreparably

 injured absent a stay; (3) whether issuance of the stay will substantially injure the

 other parties interested in the proceeding; and (4) where the public interest lies.”

 Hand v. Scott, 888 F.3d 1206, 1207 (11th Cir. 2018). These factors “contemplate

 individualized judgment in each case, [and] the formula cannot be reduced to a set

 of rigid rules.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987). The State of Georgia

 will consider each factor in turn.

       The defendant has not made a “strong showing” that he is likely to

 succeed on the merits. The first factor requires the court to “determine whether

 there is a strong likelihood that the issues presented on appeal could be rationally

 resolved in favor of the party seeking the stay.” Northrop Grumman Tech. Servs.,

 Inc. v. DynCorp Int’l LLC, No. 1:16CV534, 2016 WL 3346349, at *2 (E.D. Va. June

 16, 2016). This Court has acknowledged that “the RICO charge against Meadows

 presents a novel question in this case” since “[m]ost cases invoking federal officer

 removal involve claims based on discrete actions taken by a defendant.” In resolving

 the question before it, this Court could thus hardly have “depart[ed] from ordinary

 removal precedent” as the defendant claims. Instead, over the course of 49 pages,

 the Court considerately and rationally applied existing precedent to the facts before

 it.




                                        App.784
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 3 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 111 of 129



       The defendant’s purported examples of “departures” from “ordinary

 precedent” demonstrate as much. First, he claims that this Court “failed to credit Mr.

 Meadows’s account of his conduct and duties.” The defendant points to the Court’s

 discussion of Overt Acts 9 and 19 at page 36 n.14 of the Remand Order, but that

 footnote does not support his claim. Instead, it demonstrates that the Court did credit

 the defendant’s insistence that he did not participate in those two overt acts as alleged

 in the Indictment. However, as the Court explained with considerable care in its

 Order, the State is not “required to prove the overt acts as part of its burden of proof

 at trial.” Id. Since the defendant had disputed the veracity of overt acts which the

 State was not actually required to prove, the Court merely considered them “neutral”

 and did not appear to give them any weight in its further analysis. Id. The only reason

 the Court considered the acts differently than other overt acts was, explicitly, the

 defendant’s disputations made during his testimony.

       Second, the defendant claims that the Court flouted precedent establishing that

 “if any portion of a prosecution is removable, the entire case is removable” by

 “effectively h[olding] the opposite.” This too is inaccurate. The Remand Order

 explains how a case is removable if any discrete claims or charges, not merely “any

 portion,” relate to acts taken within the scope of federal office. Doc [69] at 12-13. In

 light of this, the Court then analyzed the nature of the RICO charge and made the

 uncontroversial observation that the prosecution does not have to prove all, or indeed




                                         App.785
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 4 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 112 of 129



 any, overt acts attributed to the defendant to achieve a conviction against him for a

 RICO conspiracy charge, and that therefore the relevant “act” was not any (or every)

 overt act but instead the defendant’s “alleged association with the conspiracy.” Id.

 at 20-21. The Court then drew from precedent from both the Eleventh Circuit and

 the Fourth Circuit to determine that it had to identify the “heart” or “gravamen” of

 the RICO charge and analyzed the overt acts “in order to determine whether

 Meadows’s association with the alleged conspiracy (the conduct for which he was

 charged) related to the scope of his federal duties.” Id. at 21-22. The conclusion

 reached by the Court regarding overt acts was not “that the case should be remanded

 if there is any way the State could prove its case without relying on an official act,”

 as the defendant insists. Doc. [74] at 4. Instead, the Court reached the rational

 conclusion required by the established precedents it had identified: “Because the

 inquiry hinges on whether Meadows’s association with the conspiracy related to the

 color of his office, however, jurisdiction is not conferred simply because a single

 overt act relates to Meadows’s federal office.” Doc. [69] at 22 (emphasis added).

 The Court did not find that a single overt act can defeat jurisdiction; it found that a

 single overt act was not sufficient to confer jurisdiction. The defendant elides the

 careful reasoning of the Remand Order and overstates his case.

       Third, the defendant argues that this Court held him to a higher standard than

 authorized in the removal context, “effectively requiring him to prove his defense




                                         App.786
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 5 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 113 of 129



 and justify the full scope of his duties in order to obtain removal.” What the Court

 actually found was that the defendant could not articulate the scope of his duties at

 all: because “Meadows was unable to explain the limits of his authority,” the Court

 gave his testimony in that regard “less weight.” Doc. [69] at 28. This sort of appraisal

 is “the same as [the Court] does any other witness in an evidentiary hearing.” Id. at

 n.12. The Court thus did not hold the defendant to a higher standard but to precisely

 the same standard as any other witness. It merely assigned less weight to the

 defendant’s insistence that all of his actions were within the scope of his official

 duties because the defendant could not describe what the limits to the scope of his

 official duties actually were.

       Far from making a strong showing that he is likely to succeed on the merits in

 his appeal, the defendant has not actually made any showing. His arguments are

 overbroad and do not actually address the careful reasoning employed by the Court

 in its Remand Order. He thus has presented no basis to conclude that he is likely to

 succeed in his appeal, and the first factor cuts against him.

       The relative effects of a stay. The second factor for the Court’s consideration

 is whether the applicant will be irreparably injured absent a stay, while the third

 factor is whether issuance of the stay will substantially injure the other parties

 interested in the proceeding. As this Court has already determined in denying the

 defendant’s prior Emergency Motion, 28 U.S.C. 1455 specifically contemplates that




                                         App.787
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 6 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 114 of 129



 a criminal case will continue to proceed as a defendant’s Notice of Removal is

 considered. The defendant attempts to paint his participation in those proceedings as

 a form of injury, but they are merely what is required of him by the express language

 of section 1455(b)(3): the case proceeds, so all parties must proceed as well. The

 defendant asks “at a minimum”1 that the Court stay its Remand Order in order to

 prevent the entry of a judgment against the defendant while he is still litigating his

 appeal. However, there is no basis to conclude that such an eventuality is likely or

 even possible. The defendant is already seeking expedited procedures on appeal, and

 even the most optimistic timeline for his trial in this case would not see a verdict

 reached for months. Evaluation of the second and third factors indicates that the

 likelihood of any injury is too remote to weigh in favor of the grant of a stay.

       The public interest weighs against the grant of a stay. The final factor for

 this Court’s consideration, “where the public interest lies,” does not weigh in the

 defendant’s favor either. This Court has actually clarified its appraisal of the public

 interest in this matter twice already. See Doc. [25] at 4-5; Doc [69] at 45-46. It is

 clear that the public interest is best served by minimal federal intrusion into this state


 1
   The defendant refers to such relief as the “minimum” as if there were additional
 relief which this Court could grant, but it does not actually ask for any relief aside
 from a stay of the Remand Order. However, again, this Court has already outlined
 why it would not be proper to enjoin or otherwise halt the state court proceedings in
 the defendant’s case. See Doc. [25]. Unsurprisingly, the defendant has now asked
 the Eleventh Circuit to issue an injunction to entirely cease his prosecution pending
 his appeal. See USCA11 Case 23-12958, Doc. [4-1] at 21-22.


                                          App.788
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 7 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 115 of 129



 prosecution, particularly where, as here, the case involves “not state interference

 with constitutionally protected federal activities, but federal interference with

 constitutionally protected state actions.” Doc. [69] at 46. The defendant merely

 makes the same argument to this Court for a third time, and this factor does not

 weigh in his favor.

                                     Conclusion

       The defendant cannot carry his heavy burden to demonstrate that the relevant

 factors weigh in his favor. His arguments do not actually address the reasoning of

 the Remand Order and instead talk around it. He asks for relief from purely

 speculative injuries. And he cannot cite to any pertinent public interest weighing in

 his favor, particularly when this Court has already found his arguments

 unpersuasive. As a result, the State of Georgia respectfully asks that this Court deny

 the defendant’s request for a stay pending his appeal.

       Respectfully submitted this 12th day of September 2023.

                                               FANI T. WILLIS
                                               DISTRICT ATTORNEY
                                               ATLANTA JUDICIAL CIRCUIT


                                               By:

                                        By: s/ F. McDonald Wakeford
                                        F. McDonald Wakeford
                                        Chief Senior Assistant District Attorney
                                        Atlanta Judicial Circuit



                                        App.789
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 8 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 116 of 129



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                      CERTIFICATE OF COMPLIANCE


       The undersigned counsel hereby certifies that this pleading complies with

 the Local Rules of this Court, including Local Rules 5.1.C and 7.1.D (N.D. Ga.) in

 that it is double-spaced and composed in 14-point Times New Roman font.

       This 12th day of September 2023.


                                       s/ F. McDonald Wakeford
                                       F. McDonald Wakeford
                                       Chief Senior Assistant District Attorney
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                         CERTIFICATE OF SERVICE

       I hereby certify the foregoing was served upon the following by email:

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                                       App.790
        Case 1:23-cv-03621-SCJ Document 78 Filed 09/12/23 Page 9 of 9
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 117 of 129



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      Dated this 12th day of September, 2023.


                        s/ F. McDonald Wakeford
                        F. McDonald Wakeford




                                    App.791
USCA11 Case: 23-12958   Document: 33-5   Date Filed: 09/18/2023   Page: 118 of 129




                                 Tab 80
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 1 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 119 of 129




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


     THE STATE OF GEORGIA
                                                             CIVIL ACTION FILE
     v.
                                                            No. 1:23-CV-03621-SCJ
     MARK R. MEADOWS,
                                                       RE: NOTICE OF REMOVAL OF
                                                       FULTON COUNTY SUPERIOR
         Defendant.                                        COURT INDICTMENT
                                                             NO. 23SC188947


                                                   ORDER

            This matter appears before the Court on Defendant Mark R. Meadows’s

     Emergency Motion for a Stay Pending Appeal. 1 Doc. No. [74]. The State filed its

     expedited opposition response. Doc No. [78].           The Court has reviewed the

     Emergency Motion and concludes that Meadows failed to show a stay should be

     granted. Thus, the Court DENIES Meadows’s Motion for an Emergency Stay.

     Doc. No. [74].




     1 All citations are to the electronic docket unless otherwise noted, and all page numbers
     are those imprinted by the Court’s docketing software.




                                         App.792
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 2 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 120 of 129




            On September 8, 2023, the Court issued an order declining to assume

     jurisdiction over Meadows’s removal of his State criminal prosecution under

     28 U.S.C. §§ 1455 and 1442. Doc. No. [69]. Accordingly, the Court remanded the

     case to Fulton County Superior Court. Id. The same day, Meadows filed his notice

     of appeal to the Eleventh Circuit. Doc. No. [71]. On September 11, 2023, Meadows

     filed the instant Emergency Motion seeking to stay the Court’s remand order

     pending resolution of his appeal. Doc. No. [74]. Meadows is also seeking an

     emergency stay with the Eleventh Circuit. See Emergency Motion to Stay

     Pending Appeal, Georgia v. Mark Meadows, No. 23-12958 (11th Cir. Sept. 11,

     2023), ECF No. 4. The Eleventh Circuit has not yet issued its ruling on the

     requested emergency stay. 2




     2 Meadows also seeks expedited review of his appeal with the Eleventh Circuit. Doc.
     No. [74], 1; Emergency Motion to Stay Pending Appeal, Georgia v. Mark Meadows,
     No. 23-12958 (11th Cir. Sept. 11, 2023), ECF No. 4. As of the time of this Order, however,
     the Eleventh Circuit has not indicated whether it will consider Meadows’s appeal on an
     expedited basis.
     The Eleventh Circuit has, however, issued a briefing schedule on the emergency motion
     and ordered the Parties to respond to a question about Section 1442(a)(1)’s applicability
     to former federal officers. Id. at ECF No. 7 (11th Cir. Sept. 12, 2023). The
     Eleventh Circuit’s question, however, has no effect on the remainder of this Court’s
     order denying Meadow’s emergency stay. Cf. Fed. R. Civ. P. 62(g) (ensuring that Rule 62
     “does not limit the power of the appellate court” to issue a stay or “an order to preserve
     the status quo or the effectiveness of the judgment to be entered”).
                                               2



                                         App.793
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 3 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 121 of 129




            As a general rule “[t]he filing of a notice of appeal generally ‘confers

     jurisdiction on the court of appeals and divests the district court of its control

     over those aspects of the case involved in the appeal.’” In re Mosley, 494 F.3d

     1320, 1328 (11th Cir. 2007) (quoting Griggs v. Provident Consumer Disc. Co.,

     459 U.S. 56, 58 (1982)). Federal Rule 62 “provides an exception to the general

     rule.” Fed. Trade Comm’n v. Vylah Tec LLC, No. 217CV228FTM99MRM,

     2017 WL 10844699, at *2 (M.D. Fla. Oct. 27, 2017). Specifically, Rule 62 allows for

     a “Stay of Proceedings to Enforce a Judgment.” Fed. R. Civ. P. 62.

            Meadows seeks an Emergency Stay under Federal Rule of Civil Procedure

     62 and the appliable stay factors. Doc. No. [74]. The State’s response likewise

     evaluates Rule 62 and the factors. Doc. No. [78]. 3



     3 Neither Party articulates specifically how Rule 62 operates in relation to a remand
     order, let alone a decision implicating Section 1455(b)(5). The Court notes that Rule 62
     contains no language that specifically applies to the procedural posture at issue here.
     Rule 62 provides for an automatic stay for “execution on a judgment and proceedings
     to enforce it,” a more permanent stay after posting a bond or other security, and
     modifications to injunctions. Fed. R. Civ. P. 62(a)–(d). The Court has nevertheless found
     a number of district courts that have stayed remand orders under Rule 62 when the
     remand order has been appealed under 28 U.S.C. § 1447(d). See, e.g., Martin v. LCMC
     Health Holdings, Inc., No. CV 23-411, 2023 WL 5173791, at *1 (E.D. La. Aug. 11, 2023);
     Overlook Gardens Props., LLC v. Orix USA, L.P., No. 4:17-CV-101 (CDL), 2017 WL
     4953905, at *6 (M.D. Ga. Nov. 1, 2017); Norhtrop Grumman Tech. Servs., Inc. v. DynCorp
     Int’l LLC, No. 1:16CV534(JCC/IDD), 2016 WL 3180775, at *1–2 (E.D. Va. June 7, 2016);
     but see, e.g., Arnold v. Garlock, Inc., 278 F.3d 426, 437 (5th Cir. 2001) (pre-Section 1447(d)

                                                 3



                                           App.794
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 4 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 122 of 129




           Meadows seeks a stay of the order remanding—or more specifically,

     declining to exercise jurisdiction over—his criminal prosecution initiated in

     Fulton County Superior Court. Doc. No. [74]. While ordinarily remand orders are

     not appealable, Meadows sought to remove his criminal prosecution under the

     federal officer statute, 28 U.S.C. § 1442, which is an exception to the ordinary rule

     and provides the right to appeal. 28 U.S.C. § 1447(d) (“An order remanding a case

     to the State court from which it was removed is not reviewable on appeal or

     otherwise, except that an order remanding a case to the State court from which it

     was removed pursuant to section 1442 or 1443 of this title shall be reviewable by

     appeal or otherwise.”).

           An emergency stay may be granted if the movant shows (1) he is “likely to

     prevail on the merits on appeal,” (2) “absent a stay [he] will suffer irreparable

     damage,” (3) the State would not suffer “substantial harm from the issuance of

     the stay,” and (4) “that the public interest will be served by issuing the stay.”

     Garcia-Mir v. Meese, 781 F.2d 1450, 1453 (11th Cir. 1986) (citing Jean v. Nelson,




     amendments allowing appeals of remands for federal officer removal actions); James
     v. P M G O P C O – Wash. LLC, No. 21-CV-2407, 2022 WL 4351998, at *1 (W.D. La.
     Sept. 19, 2022). Therefore, the Court will address the motion under the authority of
     Rule 62.
                                            4



                                       App.795
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 5 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 123 of 129




     683 F.2d 1311, 1312 (11th Cir. 1982)). Under the framework of these factors,

     granting or denying a stay is “an exercise of judicial discretion.” Nken v. Holder,

     556 U.S. 418, 433 (2009) (quoting Virginian Ry. Co. v. United States, 272 U.S. 658,

     672–73 (1926)). “The party requesting a stay bears the burden of showing that the

     circumstances justify an exercise of that discretion.” Id. at 433–34. The Court now

     addresses each factor and determines that Meadows has not met his burden to

     show any one of the factors favors a stay here.

     I.    LIKELIHOOD OF SUCCESS ON THE MERITS

           “Ordinarily the first factor [likelihood of prevailing on the merits] is the

     most important.” Garcia-Mir, 781 F.2d at 1453. In his motion, Meadows argues

     that he has a substantial case on the merits. Doc. No. [74], 2. He first points to the

     Court’s recognition that the issues presented in his removal action were novel

     and then asserts three specific contentions of error. Id. at 2–5. These arguments

     simply preview the issues Meadows is raising on appeal. There is nothing in the

     summary of arguments he plans to raise in his challenge to the denial of removal

     to convince this Court that its decision was incorrect. Thus, Meadows has shown

     no likelihood or prevailing on the merits of his appeal.




                                             5



                                       App.796
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 6 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 124 of 129




            The Court acknowledges that the first factor here—a substantial likelihood

     of success on the merits—can be also satisfied by a “lesser showing” that he has

     a “substantial case on the merits” if the other stay factors are met. Garcia-Mir,

     781 F.2d at 1453 (11th Cir. 1986) (quoting Ruiz v. Estelle, 650 F.2d 555, 565

     (5th Cir. 1981)). However, as specified below, the Court finds that he has not

     carried his burden on the other factors and therefore, the lower standard for this

     first factor is not applicable.

     II.    IRREPARABLE HARM

            Meadows fails to show that anything more than a possibility of irreparable

     harm in absence of a stay. Some “possibility” of irreparable harm is insufficient,

     and more than “mere possibility” is required. Nken, 556 U.S. at 435 (internal

     quotations omitted from second quotation). Meadows claims that he would be

     irreparably harmed because the federal rights implicated in his appeal under the

     federal officer removal statute “include freedom not only from liability . . . but

     from the burdens of a state-court defense.” Doc. No. [74], 5. He also asserts that

     he has already been harmed because—despite having filed his notice of

     removal—he had to surrender, waive arraignment, post bond, and begin

     preparations for a defense in Fulton County Superior Court. Id. He fears future


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                                       App.797
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 7 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 125 of 129




     harm because the State wishes to begin trial in Fulton County Superior Court in

     October even if his federal appeal has not been resolved. Id. at 6.

           Section 1455(b)(3) provides that “[t]he filing of a notice of removal of a

     criminal prosecution shall not prevent the State court in which such prosecution

     is pending from proceeding further.” The Court cannot ignore clear statutory

     requirements that, despite Meadows’s filing of the notice of removal, the State

     proceedings continued. See 28 U.S.C. § 1455(b)(3); see also Doc. No. [25] (denying

     Meadows’s first emergency motion to prohibit the State Court criminal

     proceedings from continuing). Thereby, Meadows’s alleged previous harm is not

     a basis for finding irreparable harm to grant his Emergency Motion.

           Furthermore, Meadows’s contentions that he would be irreparably harmed

     by the possibility of facing trial next month are insufficient to carry his burden

     on the emergency stay requested. No trial date has been set for Meadows, and he

     admits that it is not guaranteed his trial will be in October. Doc. No. [74], 6 (“If

     the State gets its way, Meadows could be forced to go to trial . . . .” (emphasis

     added). Meadows has also sought severance of his prosecution and a stay of his

     proceedings in the State Court. Id. at 5–6. These motions are still pending. Id. The

     Court finds that Meadows has not shown irreparable injury based on the


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                                       App.798
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 8 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 126 of 129




     continuation of proceedings in the State Court when the State Court has yet to

     rule on his motion to stay or schedule a trial date. Therefore, the injury Meadows

     asserts does not arise above the “too lenient” possibility of irreparable harm.

     Nken, 556 U.S. at 435. Thus, the Court concludes that Meadows has not shown

     irreparable injury warranting an emergency stay.

     III.   PREJUDICE TO THE STATE

            Nor do Meadows’s conclusory assertions that the State would not be

     prejudiced meet his burden as to the third stay factor. Though the State did not

     articulate specific prejudice it would suffer if a stay was issued (Doc. No. [78],

     5–6), the Court has already determined that a state has a strong interest in its

     criminal prosecutions being free from federal interference. 4 See, e.g., Willingham

     v. Morgan, 395 U.S. 402, 409 n.4 (1969) (requiring a “more detailed showing” for

     federal removal of state criminal prosecutions based on an increased State

     interest). Thus, the strong federalism interests at stake here are sufficient for the




     4  For example, the Anti-Injunction Act prohibits federal courts from “grant[ing] an
     injunction to stay proceedings in a State court” absent certain circumstances. 28 U.S.C.
     § 2283. Additionally, Younger abstention requires that “federal courts . . . abstain from
     interfering with ongoing state criminal prosecutions” based on comity and federalism
     concerns. Abusaid v. Hillsborough Cnty. Bd. of Cnty. Comm’rs, 405 F.3d 1298, 1315 n.9
     (11th Cir. 2005).
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                                         App.799
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 9 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 127 of 129




     Court to conclude Meadows has failed to establish that the State would be

     prejudiced by a stay.

     IV.   THE PUBLIC INTEREST

           Finally, Meadows claims that the public interest is served by a stay because

     of the Supremacy Clause and the federal officer interests at issue in his removal

     action. Doc. No. [74], 7. The Court acknowledges that there is a public interest in

     protecting federal officers from state interference under the Supremacy Clause.

     The Court, however, has already determined that Meadows failed to show he is

     entitled to federal removal under the federal officer statute because he was not

     acting in the scope of his federal office at the time of the acts alleged. 5 See

     generally Doc. No. [69]. Moreover, the Court indicated that the federal and state

     interests at issue in Meadows’s action actually favor the resolution of his case in

     the State Court, rather than federal court. Id. at 46; see also Doc. No. [78], 6–7.

     Thus, in the Court’s view, the public interest in this case favors State comity and

     federalism, which would not be served by issuing an emergency stay of the

     remand order.




     5The Court did not issue any ruling on Meadows’s asserted federal defenses. Doc.
     No. [69], 44–45.
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                                      App.800
       Case 1:23-cv-03621-SCJ Document 80 Filed 09/12/23 Page 10 of 10
USCA11 Case: 23-12958 Document: 33-5 Date Filed: 09/18/2023 Page: 128 of 129




                                   App.801
USCA11 Case: 23-12958      Document: 33-5    Date Filed: 09/18/2023    Page: 129 of 129



                          CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2023, I electronically filed the

 foregoing with the Clerk of the Court for the United States Court of Appeals for

 the Eleventh Circuit by using the CM/ECF system. I certify that all participants in

 this case are registered CM/ECF users and that service will be accomplished by the

 CM/ECF system.



                                              /s/ George J. Terwilliger, III
                                              George J. Terwilliger, III
